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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                         Civil Action No.

                       Plaintiffs,
           v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,


                       Defendants.




           MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
              MOTION FOR A PRELIMINARY INJUNCTION
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                                 PRELIMINARY STATEMENT

        Together, Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc. (collectively, “Atlas” or

the “Company”) are the largest air cargo outsourcers in the world, serving principal customers

such as DHL and Amazon, and are also the largest provider of commercial airlift for the U.S.

military. As such, Atlas plays a major role in the global supply chain on a daily basis by

transporting tons of express and time-sensitive cargo for e-commerce companies, major

international airlines, and freight forwarding and logistics companies. It also transports urgently-

required medical supplies and food to support U.S. troops in the Middle East and elsewhere, and

flies U.S. troops home to their families. Many thousands of people, therefore, depend on the

stability, reliability, and viability of Atlas’ day-to-day operations.

        Atlas’ pilots, however, are engaging in an illegal concerted slowdown that is causing

widespread and significant flight delays and a significant decline in Atlas’ operational reliability.

This slowdown has been orchestrated and explicitly directed by the pilots’ collective bargaining

representative—Defendants International Brotherhood of Teamsters (“IBT”), International

Brotherhood of Teamsters, Airline Division (“IBT Airline Division”), and Airline Professionals

Association of the International Brotherhood of Teamsters, Local Union No. 1224 (“Local

1224”) (collectively, the “Union” or “Defendants”)—in order to unlawfully create leverage on

Atlas in current negotiations for a new collective bargaining agreement. Defendants’ slowdown

activity involves a concerted and statistically significant change in the pilots’ normal behavior

designed to substantially disrupt operations—for example, an increase in the amount of last-

minute sick calls designed to prevent Atlas from re-staffing flights on a timely basis; an increase

in refusals to fly on the basis of fatigue designed to substantially disrupt operations; an increase

in refusals to volunteer for or accept open time (i.e., overtime) flying; an increase in refusals to

allow aircraft to depart timely; an increase in maintenance write-ups of aircraft that have the


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effect of unnecessarily delaying flights; and an increase in refusals to depart because of

complaints about catered crew meals. For example:

       •       Between October 1, 2015 and September 20, 2016, only 13.8% of sick calls
               occurred on short-notice. Between October 1, 2016 and September 20, 2017, that
               figure jumped to 23.8%. At the same time, the percentage of sick calls occurring
               with advanced notice declined by 12.9 percentage points. Moreover, before the
               slowdown started, the highest monthly percentage of sick calls occurring on short-
               notice was 20.7% (November 2014). But since the slowdown began, there have
               been 10 months reaching at least 20.7%. The likelihood of that being random is
               less than one-in-one billion.

       •       Between July 2014 and January 2016, Atlas averaged only 5.7 fatigue calls per
               1,000 active pilots on a monthly basis. However, since early 2016, the rate of
               fatigue calls has nearly tripled to 16.3 fatigue calls per 1,000 active pilots.
               Moreover, the monthly fatigue rate has exceeded 17.8 per 1,000 pilots (the
               highest observed monthly rate prior to early 2016) in eight of the last 18 months.
               The likelihood of that being random is less than one-in-600,000.

       •       Prior to the start of the slowdown, nearly 80% of Atlas’ flights blocked out prior
               to their estimated departure time when loaded and ready, and only 13% of Atlas
               flights departed at the estimated departure time. Since February 16, 2016, the
               proportion of flights departing exactly at the estimated time of departure, while
               controlling for other factors such as weather, pilot utilization, and fleet age, has
               increased by 31.9 percentage points, while the proportion of flights departing
               after the estimated time of departure has increased by only 3.1 percentage points.
               In addition, the proportion of Atlas’ daily flights that blocked out exactly at the
               estimated time of departure has been well above the upper 99% confidence
               threshold on 93% of days since February 16, 2016, and every day since April 9,
               2016. The probability of this proportion of departures exactly at the estimated
               time of departure being random is a virtual impossibility (i.e., far less than one-in-
               one-billion).

       This illegal slowdown has caused, and is continuing to cause, an 83% increase in flight

delays of six hours or more since December 2016, and military flights alone have experienced

an over 200% increase in such prolonged flight delays. The average delay associated with

these illegal pilot actions is eight hours, though many delays are significantly longer, with some

lasting for several days. These flight delays are highly disruptive and are causing Atlas to incur

substantial economic costs and irreparable harm to its goodwill with customers, who themselves

are suffering from the impact of these delays on their operations. Equally important, Atlas’


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customers’ end-consumers are being adversely impacted by the delay of their time sensitive

cargo, whether it be medications, birthday presents, legal documents, or wedding dresses.

Perhaps most significantly, these flight delays are also causing substantial harm to the national

interests, given that Defendants’ slowdown activities are negatively impacting flights for the

military carrying troops and critical supplies.

       While the Union has claimed that disruptions in Atlas’ operations are being primarily

caused by a pilot staffing shortage, among other things, that is not true. Atlas is, in fact, well-

staffed to meet its customers’ requirements, and indeed pilots are flying at lower levels of

utilization than has historically been the case. There would therefore be no operational

disruption if the pilots were performing their duties in the regular manner. Indeed, Atlas has

been compelled to increase its normal staffing levels in order to reduce the adverse impact of the

illegal pilot slowdown. But the evidence shows that the operational disruptions have continued,

and this is because the pilots are abiding by and effectively implementing the Union’s repeated

directions to engage in illegal slowdown behavior.

       The Union has demanded that pilots be “All In” in support of this illegal slowdown and

has developed code words to use in communications with pilots, such as “SHOP” (Stop Helping

Out Purchase [the location of Atlas’ headquarters]) and “BOOT” (Block Out On Time, instead of

when loaded and ready, to delay flights), to tell pilots exactly how they should disrupt Atlas’

operations. The Union’s messages to the Atlas pilots to violate the status quo in an effort to

influence collective bargaining negotiations have made clear that the ongoing, concerted

disruptions will increase even more going forward during the upcoming holiday end-of-year

“busy season,” including the following recent call to action:

       Atlas Executives believe that if they delay a new CBA long enough, you will lose
       your interest and your resolve and start violating the CBA, cutting corners and



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       resign yourselves to the status quo and abandon our quest for an industry-leading
       CBA. This cannot be allowed to be the case! YOU must SHOP, BOOT and push
       back on their tactics harder than ever as we are starting to get the movement we
       desire. We are getting into the busy season during the second half of the year and
       it is now more important than ever to stay strong with your SOLIDARITY. YOU
       must not only honor the CBA every day and on every flight, but also hold
       management accountable.

More recently, Defendants threatened to ramp up their actions even further, telling pilots that if

Atlas does not put “real money” into the collective bargaining agreement during upcoming

collective bargaining negotiations, “this will not be good for [Atlas’] fourth quarter.”

       Defendants have issued more than 100 other communications that, like these messages,

leave no doubt that Defendants are instigating this slowdown. Indeed, by telling pilots to “Stop

Helping Out Purchase,” the Union is directly telling pilots to change their behavior by stopping

their status quo behavior of “helping out” Atlas. And while the ongoing slowdown is clearly

already causing significant disruptions to Atlas’ operations, Defendants’ threat to increase the

disruption to Atlas’ operations going into this year’s “busy season” is not an empty one. Atlas’

pilots have done so before during the 2016 peak holiday shipping season, including engaging in a

concerted sick-out affecting Atlas’ entire B-767 fleet of aircraft.

       This Union-directed slowdown is in direct violation of the Railway Labor Act, 45 U.S.C.

§ 151 et seq. (the “RLA”), which prohibits alterations to the status quo—while the parties are

engaged in collective bargaining negotiations (known as a “major dispute”)—including “those

actual, objective working conditions and practices, broadly conceived, which were in effect prior

to the time the pending dispute arose.” Detroit & Toledo Shore Line R.R. Co. v. United Transp.

Union, 396 U.S. 142, 153 (1969) (emphasis added). As recognized by a series of court

decisions, even if the parties’ collective bargaining agreement permits individual pilots to engage

in certain conduct, such as calling in sick or refusing to accept overtime flying, that conduct,




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when engaged in on a concerted basis in an effort to exert economic leverage against a carrier

during collective bargaining negotiations, violates the RLA because the concerted use of such an

individual contract right constitutes a change to the status quo. See Allied Pilots Ass’n v. Am.

Airlines, Inc., 643 F. Supp. 2d 123, 127-32 (D.D.C. 2009); United Air Lines v. Int’l Ass’n of

Machinists & Aerospace Workers, 243 F.3d 349, 362 (7th Cir. 2001); Delta Air Lines, Inc. v. Air

Line Pilots Ass’n, Int’l, 238 F.3d 1300, 1307-09 (11th Cir. 2001); United Air Lines, Inc. v. Air

Line Pilots Ass’n, Int’l, 2008 WL 4936847 at *40 (N.D. Ill. Nov. 17, 2008), aff’d 563 F.3d 257

(7th Cir. 2009). In such circumstances—where a union or its members affirmatively fail to

maintain the status quo in violation of the RLA—federal courts are empowered to issue an

injunction “in order to avoid any interruption to commerce or to the operation of any carrier

growing out of any dispute between the carrier and the employees thereof.” 45 U.S.C. § 152,

First; Chi. & N.W. Ry. Co. v. United Transp. Union, 402 U.S. 570, 577, 581 (1971). The status

quo obligation in Section 2, First of the RLA not only prohibits Defendants and their members

from instigating, encouraging, or participating in a slowdown designed to disrupt operations and

influence collective bargaining, it also requires that Defendants and their officials affirmatively

make all reasonable efforts to prevent or stop the concerted activity when it occurs. See United

Air Lines, Inc. v. Air Line Pilots Ass’n, Int’l, 563 F.3d 257, 273-74 (7th Cir. 2009); Delta Air

Lines, 238 F.3d at 1309-10. Atlas has expressly requested that Defendants discontinue the

concerted slowdown, but Defendants have refused to do so and are thus engaging in a major

dispute status quo violation.

        The requirements for a preliminary injunction plainly are met here. Atlas will succeed on

the merits of its claims under the RLA because the compelling evidence, including expert

statistical data, leaves no doubt that the pilots are violating the status quo in an effort to disrupt




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the operation to gain leverage in collective bargaining. Although the irreparable injury showing

that is typically required to obtain injunctive relief does not apply under the RLA, see Consol.

Rail Corp. v. Ry. Labor Execs.’ Ass’n, 491 U.S. 299, 303-04 (1989), it is nevertheless certainly

present here. Atlas has suffered, and will continue to suffer, irreparable injury, in the form of

increased costs, significant damage to its brand and reputation with its customers given its

inability to perform at historical and expected levels, and financial repercussions resulting from

its inability to do so. The customers Atlas serves also are suffering tremendously as a result,

damaging their brands and reputations as well. And the brunt of the damage is felt by the public,

including the hundreds of thousands of commercial express freight customers who rely on the

time-definite service of Atlas’ customers like DHL and Amazon. In addition, the pilots’

slowdown is adversely impacting the U.S. military and our national interests by significantly

delaying flights carrying troops and supplies into battle and service members home to their

families after lengthy tours of duty. At the same time, there can be no claim of harm to

Defendants or their members in issuing an injunction because it would simply prohibit them

from engaging in illegal activity.

       The concerted slowdown is illegal and will continue to impose irreparable harm on Atlas,

its customers, the military, and the public if not enjoined. A preliminary injunction therefore

should be issued prohibiting the Union and its members from instigating or engaging in, and to

require them to make every reasonable effort to discourage and terminate, ongoing, unlawful

concerted actions in order to return Atlas to normal operations. As demonstrated by the ever-

increasing intensity of the Union’s communications, Atlas can no longer patiently wait for

Defendants voluntarily to comply with their statutory obligations. Atlas therefore seeks a

preliminary injunction requiring Defendants to meet their obligations to “exert every reasonable




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effort to make and maintain agreements concerning rates of pay, rules, and working

conditions . . . in order to avoid any interruption to commerce or to [Atlas’] operations.”

45 U.S.C. § 152, First.

                                    STATEMENT OF FACTS

       A.      The Parties To This Action

               1.      Plaintiffs

       The Company’s two brands, Atlas and Polar, are commercial air carriers, headquartered

in Purchase, New York, with domestic and international operations. (Declaration of Jeffrey

Carlson (“Carlson Decl.”) ¶ 3.)1 Both are “common carriers by air” as defined in the Federal

Aviation Act of 1958, and each is a “carrier” as defined by the RLA. (Id.) Atlas is a leading

provider of outsourced aircraft and aviation operating services, functioning primarily in the

business of transporting its customers’ cargo, including for DHL and Amazon. (Id.) Atlas also

performs chartered passenger operations, primarily for the United States military, for which

Atlas provides more lift than any other carrier. (Id.)

       The majority of Atlas’ customer cargo transportation services are provided on a

contracted “ACMI” basis—Atlas provides the Aircraft, Crew, Maintenance, and Insurance for

the transportation of time-sensitive products and equipment for customers worldwide, such as

express and e-commerce products, technology and consumer goods, fresh fruit, vegetables, fish,

flowers, and other perishables, drilling and excavation equipment, infrastructure equipment,

pharmaceuticals, and livestock. (Id. ¶ 4.) Atlas’ chartered cargo and passenger services, which

are provided on a one-time, ad hoc or an extensive, longer-term charter basis, represent

approximately one third of its business. (Id.) Half of Atlas’ charter business is commercial, and

1
  Atlas and Polar are owned by the same parent corporation, Atlas Air Worldwide Holdings, Inc.
(“AAWW”). (Carlson Decl. ¶ 3.) AAWW also owns two other entities, Southern Air, Inc.
(“Southern”) and Titan Aviation Holdings. (Id.)


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includes, for instance, transport of equipment for concert tours, perishable goods, construction

equipment, or other high-value goods. (Id.) Atlas also has been the largest provider of

commercial airlift in the wide-body cargo segment for the United States Air Mobility Command

for the last seven years, which airlift and military passenger service constitute the other half of

Atlas’ charter business. (Id.) Atlas also specializes in mobilizing and supporting humanitarian

efforts at a moment’s notice and in helping to transport college and professional teams to and

from major sporting events. (Id.)

       Since Atlas entered into the current collective bargaining agreement (“CBA”) with its

pilots in 2011, the Company’s operations have grown significantly in both scale and scope. (Id.

¶ 5.) Historically, the core of Atlas’ business was focused on providing long-haul,

intercontinental flights using B-747 aircraft for a variety of commercial customers and the U.S.

military. (Id.) Atlas today operates both B-747 and B-767 aircraft types serving multiple

markets in the passenger, express, and e-commerce space and operates long-haul wide-body

intercontinental flights for customers such as Amazon, DHL, Qantas, Cathay Pacific, Panalpina,

Nippon Cargo Airlines, Asiana Cargo, and Hong Kong Air Cargo Carrier Limited. (Id.)

       Since 2011, Atlas also has developed a North American domestic market of highly-

scheduled time-definite network flying centered on B-767 aircraft, which serves some of Atlas’

most significant customers in their hub and point to point operations—including, DHL, an

international transportation company that moves cargo (and provides a variety of other services),

Amazon, one of the largest consumer products retailers and shippers in the world, UPS, and

FedEx. (Id. ¶ 6; Lee Report ¶ 10, Ex. 2.) In 2016, Atlas began flying B-767-300 freighter

aircraft for Amazon under the livery “Prime Air,” to ensure timely delivery of Amazon’s

packages. (Carlson Decl. ¶ 6.) The business with Amazon is scheduled to grow significantly—




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from seven freighters currently to 20 by the end of 2018. (Id.) Currently, over 70% of Atlas’

aircraft serve the express and e-commerce markets. (Id.) As a result of the rapid growth of

Atlas’ operations in support of its e-commerce and express package customers, Atlas now

operates—broadly speaking—two different “networks”: (1) Atlas’ traditional long-haul,

intercontinental network, and (2) a shorter-haul domestic network centered around Atlas’ B-

767s, serving Amazon and DHL’s point-to-point and hub operations, which now accounts for

approximately 40% of Atlas’ flights, compared to less than 20% a decade ago. (Id.)

       Atlas must be, and always has been, flexible and responsive to its varied customers’ ever-

changing requirements. (Id. ¶ 7.) Atlas maintains its expansive global network due to the

diverse nature of Atlas’ customers and their unique air transportation needs. (Id.) Over the last

12 months, Atlas operated flights to 427 different airports in over 100 different countries. (Id.)

By way of comparison, in 2017, the largest U.S. passenger carrier—American Airlines—

operated flights to approximately half as many (54) countries. (Lee Report ¶ 9.) In fact, for the

year ending August 2017, Atlas’ more than 5,000 flights on behalf of the U.S. military alone

went to 60 countries across the world, several of which went to critically-important U.S. military

bases, such as Bagram Air Field in Afghanistan and Osan Air Base in South Korea. (Id. ¶ 13.)

Unlike the long-haul international operations of passenger carriers such as American, Delta, and

United, whose fleets of international aircraft (and crews) are routed from their hubs to a single

international destination and then back to a hub, the unique nature of Atlas’ business and

customer base in the long-haul international segment of its operations mean that its aircraft and

crew are often away from base for well over a week. (Id. ¶ 14.)

       As a result of this business model, Atlas cannot feasibly have reserve pilot crews

stationed in every location. (Carlson Decl. ¶ 8.) If a pilot cannot fly his scheduled flight for any




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reason, the nearest replacement pilot may not be readily available, and in some instances, may be

a continent away. (Id.) Often, Atlas is required to transport the replacement pilot to the

departure location via commercial or charter transportation. (Id.) In some instances, Atlas needs

to fly in a relief pilot from another part of the world, who must then rest, and then complete the

originally scheduled flight several days later, causing substantial disruption (and potentially the

spoilage of perishable cargo) for Atlas’ customers. (Id.; Lee Report ¶ 15.)

       Atlas’ customers depend on cargo arriving at the day, time, and place requested.

(Carlson Decl. ¶ 9.) This is particularly true for Atlas’ express and e-commerce customers, who

require time-definite, highly reliable scheduled services to meet the expectations of their own

customers. (Id.) The time-definite nature of these customers’ operations rely on Atlas’ flights

arriving on-time, either at their final destination airport, or to these customers’ “hubs” so that

packages onboard those flights can be quickly sorted and re-loaded onto another flight

transporting them to their final destination. (Id.) Thus, any significant disruption in Atlas’

operations, such as those being caused by the Atlas pilots at the direction of the Union, can cause

an exponential domino effect that impacts a sequence of other flights and customers and end-use

customers. (Id.)

       September through December constitutes the peak season for Atlas and its customers.

(Id. ¶ 10.) During these four months, imports, new product releases, and holiday deliveries

significantly increase the amount, volume, and time-sensitive nature of Atlas’ cargo flying. (Id.)

This is particularly true for 2017 as Atlas continues to grow in the ever-increasing express and e-

commerce markets, where customers expect to receive their orders as quickly as possible. (Id.)

               2.      Defendants

       Defendant IBT is an unincorporated labor organization, which, along with IBT Airline

Division, has its principal offices in Washington, D.C. (Id. ¶ 11.) Defendant Local 1224 is an


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unincorporated labor organization with its principal offices in Wilmington, Ohio. (Id.) IBT is

the certified collective bargaining representative of the Atlas pilots under the RLA. (Id.) Local

1224 is the local collective bargaining agent designated by the IBT through IBT Airline Division

to represent the Atlas pilots.2 (Id.) Local 1224, which manages day-to-day pilot labor relations

with Atlas, is governed by an Executive Board that consists of a President, Vice President,

Secretary-Treasurer, Recording Secretary, and three Trustees. (Id. ¶ 12.) Local 1224 has an

Atlas Executive Council (“ExCo”). (Id.) The Atlas ExCo Chairman, Captain Robert Kirchner,

serves as the leader of the Atlas pilot group and represents that group on the Local 1224

Executive Board. (Id.) The Atlas ExCo Communications Chairman is Captain Mike Griffith.

(Id.)

        B.     The Parties’ Collective Bargaining Negotiations

        Atlas and Defendants are parties to a CBA (the “Atlas CBA”) governing the rates of pay,

rules, and working conditions of the Atlas pilots. (Id. ¶ 13.) The Atlas CBA became effective on

September 8, 2011, and became amendable on September 8, 2016. (Id.) Under the RLA, a CBA

does not expire, but continues in effect until amended by agreement of the parties. Either party

to a CBA may initiate bargaining for an amended CBA by issuing a written notice to the other,

pursuant to Section 6 of the RLA, 45 U.S.C. § 156, of its desired changes to the CBA. Pursuant

to Section 34 of the Atlas CBA, which allows for an early commencement of negotiations for an

amended CBA, the parties began direct negotiations in January 2016. (Id.) Defendants also sent

Atlas a Section 6 notice on February 16, 2016. (Id.)

        On January 19, 2016, AAWW announced its agreement to acquire Southern Air

Holdings, Inc., the corporate parent of Worldwide Air Logistics Group, Inc., which in turn


2
  Defendants also represent pilots at ABX Air, another cargo carrier, which, like Atlas, provides
air cargo services for both DHL and Amazon. (Carlson Decl. ¶ 11.)


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owned two subsidiary air carriers: Southern and Florida West International Airways, Inc.

(“Florida West”). (Id. ¶ 14.) The acquisition was completed on April 7, 2016, and Atlas and

Southern are in the process of being integrated. (Id.)3 The crewmembers of Southern are

represented by the same union as the Atlas pilots—the Defendants in this case. (Id.) Southern

and Defendants are parties to a CBA (the “Southern CBA”) governing the rates of pay, rules, and

working conditions of the Southern pilots. (Id.) The Southern CBA became effective on

November 6, 2012, and became amendable on November 6, 2016. (Id.) Defendants sent

Southern a Section 6 notice in February 2016.4 (Id.)

         After the merger was announced, Atlas and Southern informed Defendants that the

carriers wished to bargain for a joint CBA to apply to the post-merger combined pilot group,

rather than amending the two separate CBAs. (Id. ¶ 15.) Atlas and the Union eventually

engaged in discussions regarding the process the parties would use to formulate the post-merger

joint CBA. (Id.) After months of negotiations, in June 2017, Atlas, the IBT Airline Division,

and Local 1224 reached an agreement on a Negotiation Process to Facilitate Completion of

Collective Bargaining Negotiations (the “Protocol Agreement”), which, among other things,

provides for collective bargaining negotiations for a joint CBA. (Id.) These negotiations for a

joint CBA began on July 6, 2017, and have continued to the present time. (Id.)

         C.     Defendants And Their Members Have Engaged In Unlawful Concerted
                Activity To Pressure Atlas In Collective Bargaining.

         Since February 2016, coinciding with Defendants’ Section 6 notices to Atlas and

Southern, and soon after the announcement of the Southern acquisition, Atlas pilots began

3
    Florida West was wound down following the acquisition. (Carlson Decl. ¶ 14.)
4
  Because pilot operational metrics have been within normal ranges for the Southern pilots
(belying Defendants’ claims that the decline in Atlas’ operation is due to Atlas’ mismanagement
and operational factors), the concerted activity that Atlas seeks to enjoin relates only to the pilots
of Atlas and Polar.


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engaging in unlawful concerted slowdown activities in violation of the RLA-mandated status

quo. After this unlawful activity began, Atlas requested Defendants take effective action to stop

the slowdown. (Id. ¶ 16.) But Defendants have refused, and continue to refuse, to stop the

illegal slowdown, and have in fact threatened to intensify the already significant slowdown as the

busy holiday season approaches. (Id.)

        This lawsuit and request for a preliminary injunction are based on the pattern of illegal

activity that began in February 2016 and has continued during the past six months—the

applicable statute of limitations. This illegal conduct over the past 20 months since the

slowdown began shows a probative pattern that has continued into the limitations period, as

more fully described below. This conduct includes:

           •   more frequently calling off sick on the day of scheduled flying,

           •   more frequently calling off flights because of fatigue,

           •   refusing to volunteer for or accept open time (i.e., overtime) flying,

           •   delaying flight departures by “Blocking Out On Time,”

           •   writing up unusually high numbers of maintenance issues on aircraft, and

           •   refusing to depart due to rejected crew meals.

(Id.)

        Defendants have designed these concerted activities to cause maximum disruption to

Atlas’ operation and thereby exert pressure on Atlas to capitulate in collective bargaining. (Id.)

As explained in the Expert Report of Dr. Darin N. Lee (“Lee Report”), economists and

statisticians routinely rely upon a variety of tests to determine the likelihood that an observed

outcome (e.g., the number of pilot fatigue calls Atlas experiences in a given month) lies within

the range of random variation by comparing observed values of the data to the statistical



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distribution of a historical base period. (Lee Report ¶ 6.) Each of the tactics adopted by the

Atlas pilots on a concerted basis represent a significant change in behavior from the status quo,

and all of those that can be quantified are considered “statistically significant.” (Id.) In other

words, such changes in behavior are all well in excess of what conventional statistical analysis

would consider to be “random” occurrences. (Id.) And applying these techniques here confirms

that these behavioral changes are the result of collaborative pilot action. Indeed, for most of

these changes described in more detail below, there is more than a 99% confidence level (i.e., a

statistician would conclude that there is a less than 1% chance that the changes were random in

nature rather than the result of concerted activity). (Id.)

               1.      Pilots Are Calling In Sick On Short-Notice Significantly More Often.

       Historically, most of the pilot sick calls occurred one, two, or three or more days in

advance of a pilot’s next scheduled duty period. (Lee Report ¶ 18.) Atlas pilots now have

changed their behavior and call in sick far more often on short-notice (i.e., on the same day as,

including upon wakeup for, their next duty period).5 (Id. ¶¶ 17-18.) Such short-notice sick calls

have a larger adverse impact on the operation than sick calls with longer advanced notice

because of the reduced time for Atlas to assign an available substitute pilot. (Carlson Decl. ¶

17.) Accordingly, sick calls at crew wakeup (i.e., when the crew is woken for duty, generally

three hours before a flight) place Atlas in a highly difficult position. (Id.) Short-notice sick calls

also reduce the number of pilots available for use on other assignments, and can lead to

significant delays, particularly when the nearest replacement pilot may be a continent away.

(Id.) While Atlas fully supports pilots calling in sick when they are sick and do not believe they



5
  A “duty-period” is the time when a pilot is on duty and typically involves a flight or reserve
assignment, but can also include a pilot traveling to his flight assignment from his/her crew base
(known as “dead-heading”). (Lee Report ¶ 6 n.4.)


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are safe to fly, the sick call system is subject to abuse—and it is clear that the abuse here is

concerted and coming at the Union’s direction. (Id.)

         On average, only 14.4% of pilot sick calls occurred on short-notice between January

2013 and February 2016, with the highest monthly average during that time being 20.7% (in

November 2014). (Lee Report ¶ 17, Ex. 5.) Between October 1, 2016 and September 20, 2017,

however, the proportion of pilot sick calls occurring on short-notice increased to 23.8%. (Id.)

Moreover, there have been 10 months since the Union sent its Section 6 notice with at least

20.7% of sick calls occurring on short-notice (i.e., at or above the previous “high water” mark for

short-notice sick calls). (Id.) The probability of there being 10 such months with this “outlier”

rate of short-notice sick calls occurring randomly (as opposed to the result of a concerted change

in pilot behavior aimed at disrupting Atlas’ operations) is less than one-in-one billion. (Id.

¶ 19.)

         Another way of demonstrating this change in behavior is by comparing the year-over-

year periods of October 1, 2016-September 20, 2017 to October 1, 2015-September 20, 2016.

(Id. ¶ 18, Ex. 6) The percent of sick calls made on short-notice has increased almost 10

percentage points—from 13.8% to 23.8%—year-over-year, while the percent of sick calls

occurring at least two days in advance has declined by 12.9 percentage points from 44.5% to

31.6%. (Id.)

         Indeed, the number and circumstances of short-notice sick calls in recent months, and the

adverse impact they have imposed on the operation, are clearly traceable to a change in the status

quo behavior that is strategically designed to cause maximum disruption. (Carlson Decl. ¶ 18.)

By way of example:

         •     On June 7, 2017, three crewmembers consecutively called out sick for a single
         DHL flight from Cincinnati—DHL’s hub of operations in North America—to Narita,



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Japan, causing a rolling delay of nearly nine hours. A First Officer initially called out
sick, forcing Atlas to find a replacement and adjust the departure time. Then, the
replacement pilot called out sick, forcing Atlas to find a second replacement and further
adjust the departure time. Finally, the second replacement pilot called out sick, forcing
Atlas to find a third replacement and again adjust the departure time. These consecutive
sick calls also impacted the return flight from Narita to Cincinnati, which was a major
transport of packages from Japan that experienced a corresponding delay of nearly nine
hours due to the three sick calls in Cincinnati. As a result, all of the packages missed the
sort deadline into Cincinnati and could not be delivered until the day after they were
promised by DHL to its customers.

•       The same day, Atlas experienced another rolling delay of over 16 hours due to
multiple sick calls on a DHL flight from Los Angeles to Incheon Airport in South Korea,
with subsequent/carry-on delays until June 9, 2017 (two days later). A First Officer
called out sick, and no pilots accepted a call for open time volunteers put out by Atlas.
Then another First Officer also assigned to the flight took bereavement leave. (While
Atlas does not doubt this leave was legitimate, the pilots’ slowdown actions leave Atlas
with no coverage for legitimate pilot absences.) Accordingly, Atlas placed a reserve
Captain on the trip. Atlas then determined it could improve its departure time with
another Captain and assigned the reserve Captain to another flight. Then another First
Officer from the original crew also called out sick at his scheduled wakeup time for his
flight. The flight finally departed 16 hours late with a reduced crew and without a single
member of the originally-scheduled crew on the flight. The subsequent flight for DHL
from South Korea to Shanghai, China took a more than 12-hour delay as a result of the
delay in Los Angeles. In order to reduce the delay of the next leg from Shanghai to
Cincinnati, Atlas flew another aircraft on the route instead of the delayed aircraft.
Therefore, the cargo coming from Shanghai was not flown on the aircraft to Cincinnati.
In addition, the replacement aircraft was significantly smaller than the delayed aircraft,
and therefore less cargo was transported to Cincinnati than planned.

•       On July 16, 2017, a B-767 flight from Houston to Norfolk Naval Station in
Norfolk, Virginia to pick up 213 military service members was delayed over 36 hours as
a result of the Captain calling out sick at his scheduled wakeup time and Atlas being
unable to assign a rested, available pilot who could get to Houston, which is not a crew
base for B-767 aircraft. As a result, the Norfolk service members were picked up late and
suffered a delayed arrival into Kuwait. Atlas spent $44,000 to house and feed the
distressed passengers.

•        On July 21, 2017, a specialized aircraft transporting aircraft parts for Boeing from
JFK in New York, New York to Charleston was delayed approximately 15 hours as a
result of a sick call by the Captain at the absolute latest possible time (i.e., departure
time), making it impossible for Atlas to operate on time. The lengthy delay was due, in
part, to Atlas not being able to assign a replacement Captain as a result of six additional
pilot sick calls and six pilot fatigue calls over the previous day and overnight. These calls
caused a compounded domino effect of dozens and dozens of crew openings that Atlas
was required to reassign.



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        •       On the overnight shift starting on August 26, 2017, Atlas experienced a number of
        significant delays as a result of multiple sick calls. The following four short-notice sick
        call events occurred over the course of less than 12 hours:

               o       For a DHL flight filled with express freight from Hong Kong to
                       Anchorage, a crew member called in sick at his scheduled wakeup time.
                       As a result, a crew member had to be removed from another DHL flight
                       and assigned to cover for the sick crew member, resulting in an 11.5-hour
                       delay for that second flight from Hong Kong to Anchorage. Subsequently,
                       the delayed aircraft ferried to Dover Air Force Base in Dover, Delaware to
                       transport needed supplies for the U.S. military to the Middle East.
                       Because of the delay caused by the sick call, the military flight was
                       delayed over six hours.

               o       Another flight full of general cargo from Pudong International Airport in
                       Shanghai to Anchorage was delayed 11 hours and 15 minutes due to a sick
                       call by a pilot at his scheduled wakeup time and would continue to run late
                       for three days as a result.

               o       Another flight for Nippon Cargo Airlines from Anchorage to Narita was
                       delayed nearly 14 hours due to a pilot sick call. No pilots were available
                       at the base because of other crew call outs.

               o       A flight for the U.S. military transporting needed supplies from Hill Air
                       Force Base near Ogden, Utah to Hahn, Germany (and then going to Qatar)
                       was delayed approximately 20 hours due to a sick call by a First Officer.

           •   On September 16, 2017, a First Officer called in sick downline for a DHL express
               flight from Leipzig/Halle Airport in Germany to Incheon Airport in South Korea
               approximately 2.5 hours before crew wakeup. A crew member was removed
               from his scheduled flying on another flight in order to reduce the delay, but the
               flight still took a delay of nine hours and 19 minutes.

(Id.)

        This abuse of sick leave represents the continuation of a campaign instituted by

Defendants last December in an effort to disrupt Atlas’ operation during a peak holiday flying

season. (Id. ¶ 19.) Starting on or around December 16, 2016, and continuing until December 24,

2016, Atlas experienced a dramatic increase in the proportion of B-767 pilots using sick days.6


6
  The B-767 fleet is the second largest at Atlas and is used for much of the Company’s DHL
flying, all of its flying for Amazon, and for military transport as well. (Carlson Decl. ¶ 19.)



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(Id.; Lee Report ¶ 66.) These anomalies could not be explained by chance.7 (Lee Report ¶ 68.)

As Dr. Lee concludes, “the elevated sick rate among Atlas’s 767 pilots between December 16

and December 24, 2016 (and particularly between December 16 and December 20) was not due

to random statistical variation or other factors and instead was the result of a concerted action by

pilots to disrupt [Atlas’] operations in the peak holiday shipping days in order to exert leverage

over the Company during collective bargaining negotiations.” (Id.)

        While this sickout ended once the 2016 holiday period ended, the threat of a further

sickout during the 2017 holidays is evidenced in the Union’s missive that “We are getting into

the busy season during the second half of the year and it is now more important than ever to stay

strong with your SOLIDARITY. YOU must not only honor the CBA every day and on every

flight, but also hold management accountable.” (Carlson Decl. ¶ 21, Ex. 63.) Even more

recently, Captain Griffith issued a message warning that if Atlas did not put “real money” into

the CBA during upcoming contract negotiations, “as a pilot crew member, I can honestly say this

will not be good for their fourth quarter [2017] . . . .” (Id., Ex. 75.)




7
  The conclusion that this 2016 holiday-time sick-out was not random is also supported by a
variety of Union actions warning Amazon and the public of potential delivery disruptions for
purchases made at the online retailer during the peak holiday shopping season. (Carlson Decl. ¶
20.) Atlas pilots picketed Amazon’s headquarters on December 7, 2016, carrying placards
reading “Can Amazon Deliver?” (Id.) Defendants also ran online advertisements in December
targeted at Amazon customers, including a link to the website http://canamazondeliver.com,
which warned holiday shoppers that “Amazon customers may want to think twice before
ordering last-minute deliveries” because “there may not be enough pilots to deliver for Amazon
around the holidays.” (Id., Ex. 67.) A December 18, 2016 segment on ABC’s Good Morning
America covered the online advertising campaign paid for by the Union and reported that
“millions of Amazon customers who rely on the company’s two day Prime delivery, getting a
startling warning of what some claim is a possible holiday doomsday scenario,” and included an
interview with Captain Griffith who noted that Atlas did not have “an industry standard [pilot]
contract.” (Id ¶ 18.)


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               2.      Pilots Are Calling In Fatigued Significantly More Often.

        Since the Union sent its Section 6 notice, the frequency of pilot fatigue calls has risen

sharply. (Lee Report ¶ 21.) Since October 2010, pursuant to Atlas’ Fatigue Risk Management

Plan required by the Federal Aviation Administration (“FAA”), each Atlas pilot has been

obligated to advise the Company if, in his honest opinion, safety will be compromised due to

fatigue if he flies as scheduled. (Carlson Decl. ¶ 22.) Like sick calls, fatigue calls are subject to

abuse and can cause great harm to Atlas. (Id.) Fatigue is of course a serious matter, and Atlas

fully supports pilots calling in fatigued when they honestly are not safe to fly. (Id.) But pilots

are now using their right to call in fatigued as a weapon in the Union’s campaign against Atlas.

(Id.)

        Between July 2014 and January 2016, Atlas averaged only 5.7 fatigue calls per 1,000

active pilots on a monthly basis. (Lee Report ¶ 21). However, since early 2016, the rate of

fatigue calls has nearly tripled to 16.3 fatigue calls per 1,000 active pilots. (Id.) Moreover, the

monthly fatigue rate has exceeded 17.8 per 1,000 pilots (the highest observed monthly rate prior

to early 2016) in eight of the last 18 months. (Id.) As shown below, the relative increase in the

number of weekly fatigue calls since collective bargaining began is striking:




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than 14-hour delay as a result of the fatigue call. Atlas spent $56,000 to house and feed
the distressed passengers.

•       On April 24, 2017, the Captain who caused the initial delay from Kuwait to
Germany on April 23 was removed from that route and provided with a commercial
business class flight from Kuwait to Germany, with the intent that he would have a restful
flight and fly another mission for the military. He was assigned to a trip from Germany
to Kuwait to Al Dhafra Air Base in the United Arab Emirates, where he would pick up
138 military service members to bring them back to their families in Baltimore. The
Captain, who had previously received 11.5 hours of rest, placed multiple fatigue calls in
Germany, causing a 17.5-hour delay for the flight from Germany to Kuwait. The delay
then caused a compound delay of approximately eight hours for the flight from Kuwait to
Al Dhafra. The 138 military service members thus waited for their flight home for an
additional 25.5 hours because of this Captain’s multiple fatigue calls.

•       On June 22, 2017, a First Officer, who had previously received more than 17
hours of rest, waited to call out fatigued until his 10 hours of additional rest would push
the flight’s delayed departure time into the airport’s curfew period. The timing of this
fatigue call caused a flight carrying cargo for Nippon Cargo Airlines from Narita, Japan
to Anchorage to incur a nearly 16-hour delay.

•        On July 1, 2017, a Captain, who had previously received more than 25 hours of
rest, called out fatigued on a flight carrying 340 military members from Pope Field in
North Carolina to Hahn, Germany delaying the flight for over nine hours. All 340
military members were through passengers, scheduled to travel on from Hahn to Kuwait.
As a result of the fatigue call, their second flight was delayed over nine hours as well.

•       On July 30, 2017, a flight carrying military supplies from Dover Air Force Base
in Dover, Delaware to Hahn was delayed approximately 13 hours due to two sequential
fatigue calls by the Captain. The aircraft flew from Miami to Dover after maintenance
and was expected to be on the ground in Dover just long enough to be loaded. But the
Captain, after receiving over 54 hours of rest, called in fatigued, and then called in
fatigued a second time after receiving his additional rest, such that he cumulatively
received approximately 67 hours of rest. Atlas was unable to assign a replacement
Captain in order to expedite departure.

•       On August 1, 2017, a flight carrying cargo for Qantas experienced disruptions on
two separate legs due to a fatigue call after a long rest. The Captain flew from Narita to
Honolulu, and then had about 50 hours of rest. He then flew from Honolulu to Sydney,
Australia and had about 20 hours of rest. He then called in fatigued for his next flight
from Sydney to Bangkok, Thailand. Fatigue calls in Sydney are especially challenging
for Atlas because it generally takes a day and a half to two days to obtain a replacement
crewmember since the crewmember must first fly all the way to Sydney and then get the
required pre-duty rest. Due to Sydney curfew rules regulating when Atlas may fly in and
out of the airport, and Atlas’ inability to replace the Captain, the Captain was given over
15 hours of additional rest before finally flying the Sydney to Bangkok leg, causing a
delay of approximately 14.5 hours. As a result of this delay, the crew was required to rest


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in Bangkok, and, as a result, the second leg from Bangkok to Shanghai was also delayed
by over six hours.

•       On August 11, 2017, after receiving nearly 28.5 hours of rest, a First Officer
called out fatigued for a flight from San Juan to Campbell Army Airfield in Hopkinsville,
Kentucky, carrying military service members. Accordingly, the flight flew with a
reduced crew. Due to that reduced crew size, FAA regulations required the crew to rest
in between the first and second legs of the trip, causing an approximately 11-hour delay
to the second leg of the trip, which was to Seattle for significant deferred maintenance.

•       On August 25, 2017, the Captain who caused multiple lengthy delays for the
military in April 2017 (as described above) caused yet another delay by calling in
fatigued and other actions. He was supposed to operate a flight from Greenville-
Spartanburg International Airport in Greer, South Carolina to Biggs Army Airfield in El
Paso, Texas to position an aircraft for a military mission (that he was not flying). Once
the aircraft was at Biggs, another pilot would fly 256 members of the military to transport
them into Kuwait (via Portsmouth, New Hampshire and Hahn). The Captain arrived late
to Greenville-Spartanburg for a 5 a.m. departure, and so the airport manager told him that
he must have his engines up and running by 5:15 a.m. because the airfield would be
closing. The First Officer had already performed the pre-flight check, but the Captain
insisted that they re-do it again together, even though nothing so requires. As a result, by
the time the Captain was in his seat, the airport had closed. Since the airport was re-
opening at 9 a.m., the Captain and First Officer were told to remain on board, at which
point the Captain called out fatigued, despite the fact that he previously had 13 hours of
rest. As a result, the flight was delayed 16 hours, and a return flight of the aircraft
transporting an additional 230 service members home to their families from Kuwait was
delayed 12 hours.

•        On August 27, 2017, a flight carrying cargo from Sydney to Shanghai was
delayed 18.5 hours due to crew actions. The crew was standing by while maintenance
was repairing the aircraft. When the aircraft was fully loaded and ready, the crew said it
would need time to do its checks. Approximately 40 minutes later, the crew, which had
previously received over 40 hours of rest, called fatigued while they were within their
legal duty day. Indeed, had they operated the flight, they still would have had five hours
of legal duty time left in their day. After 12.5 hours of rest, the crew was informed of a
new departure time outside of the Sydney curfew, but they said they were still fatigued,
resulting in an additional six-hour delay, causing Atlas’ schedule for this customer to run
late for several days thereafter. The customer requested that the crew no longer operate
flights for the customer, complaining that “[t]he lack of customer focus provided by this
operating crew to the [customer] Freight operation is exasperating and more than
disappointing.” Another manager at the customer called the delay “extremely
disappointing,” noting that “there are many questions being asked here in relation to how
this could have occurred.” Days later, the customer complained that this incident and
several other fatigue delays in the same week “result[ed] in one of our lines of flying now
being delayed by 47 hours with no ability to operate on time until mid-next week” (i.e., a
week and a half later).



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        •        On September 1 and 2, 2017, three pilots called in fatigued for their Hong Kong-
        Delhi-Hong Kong turn. On September 1, a First Officer, who had previously received
        over 17 hours of rest, called in fatigued for the Hong Kong-Delhi-Hong Kong flight,
        causing a 7-hour and 35-minute delay in the initial leg of that flight. The next day,
        Captain Griffith, who had previously received 36.5 hours of rest, called in fatigued for
        that day’s Hong Kong-Delhi-Hong Kong flight. Captain Griffith refused to accept an
        additional 10 hours of rest that would have allowed Atlas to set a new departure time, in
        accordance with the Company-Union agreed standard operating procedure, insisting
        instead that he would call in when fit to fly, leaving the flight schedule in flux.
        Ultimately, Atlas found a replacement Captain and scheduled the flight for a two-hour
        delay. After both of the First Officers scheduled for the flight were notified of that two-
        hour delay, one of the flight’s First Officers, who had previously received 36.5 hours of
        rest, called in fatigued. As a result, Atlas operated the flight with one less First Officer,
        which limited the crew’s legal duty time and required an unscheduled crew rest in Delhi
        before the Delhi-Hong Kong leg could fly.

        •      On September 2, 2017, a Captain, who had previously received more than 10
        hours of rest following a hotel reserve assignment, called in fatigued at 2:10 a.m. for a
        6:30 a.m. departure, which caused an 8-hour and 40-minute delay of a Boeing flight from
        Paine Field in Washington State to Chubu Centrair International Airport in Japan.

        •       On September 9, 2017, a First Officer, who had previously received nearly 45
        hours of rest, called in fatigued at his scheduled wakeup time, delaying a flight from
        Kuwait to Hong Kong by eight hours. The aircraft was scheduled to fly from Hong Kong
        to Cincinnati transporting express cargo. As a result of the pilot’s fatigue call, the
        aircraft, which was already delayed due to maintenance and other issues, missed the
        customer’s sort in Cincinnati, and the customer experienced a full service failure. Had
        the pilot not called in fatigued at his scheduled wakeup time, even with the maintenance
        and other delays, the aircraft would have arrived in Cincinnati in time for the customer’s
        sort.

        •        On September 24, 2017, a First Officer called out fatigued “mid-pattern” for a
        DHL flight. Upon arrival from Sydney to Melbourne, Australia, where the aircraft was
        making a scheduled stop of less than two hours, the First Officer advised that he was too
        fatigued to fly the next leg of the trip from Melbourne to Shenzhen, China. Prior to the
        trip, the First Officer had over 36 hours of rest, including a full 24 hours when he was
        free-from-duty, and he would have received inflight rest on the trip from Australia to
        China as well. The Melbourne to Shenzhen flight took a delay of over 10 hours as a
        result of the fatigue call

(Id.)

        Defendants have encouraged pilots to call out fatigued, even if they are not in fact

fatigued, as one pilot expressly told Atlas on July 22, 2017. (Carlson Decl. ¶ 24.) On that date,

after a First Officer called out fatigued for a flight, Atlas’ crew scheduling department called


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another First Officer who was scheduled to ride as a passenger on that flight to see if he would

be able to pilot it instead. (Id., Ex. 1.) At first, the pilot agreed to fly the route, but later called

back and said: “I was talking to the union and they wanted me to call and tell you that I needed

10 hours of pre-duty rest prior to my schedule change per the contract, and just to check if you

guys are aware of that.” (Id.) Sections 12.E.1. and 12.F.3. of the CBA, however, do not require

10 hours of rest and permit pilots to choose to accept less than 10 hours of rest. (Id., Ex. 2.) As

a result of this fatigue call, Atlas ultimately was forced to assign another pilot to fly the route and

took a delay as a result. (Id.)

                3.      Pilots Are Refusing To Volunteer For Or Accept Open Time Flying.

        Atlas’ staffing model and related staffing plan is built to accommodate forecasted flying

so that nearly all of the Company’s flight assignments are awarded each month through a pilot

bid system based on seniority. (Carlson Decl. ¶ 25.) Atlas also has a substantial complement of

reserve pilots—pilots who do not have a scheduled line of flying, but are required to be available

on their assigned reserve days—at key operational locations in anticipation of coverage needs.

(Id.) In addition to these regularly-awarded trips and usage of reserves, however, Atlas also

offers a number of “open time” flights each month that, for one reason or another, require

replacement crews. (Id.) Open time flying opportunities for pilots can arise for several reasons,

such as to cover for pilots who call in sick or fatigued, to crew a flight requested by a customer

on short-notice, or to recover from operational disruptions due to bad weather or mechanical

problems. (Id.) Open time volunteers are regularly sought in cases where reserve pilots have

been deployed, are reserved for other duty, or are not able to get to the required location in a

timely fashion. (Id.) Pilots may volunteer, and have historically volunteered, for these open

time opportunities, which are awarded on a seniority basis. (Id.)




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       Individual pilots are not required under the Atlas CBA to volunteer for or accept open

time flying. (Id. ¶ 26.) But under the status quo period prior to this concerted slowdown, pilots

did in fact routinely volunteer to accept open time assignment because of the premium pay

associated with open time trips, at a rate that allowed Atlas to cover its scheduled flying. (Id.)

Now, as described below, Atlas pilots are making it much harder to fill open time trips as part of

the Defendants’ “SHOP” campaign. (Id.)

       Since January 2015, Atlas has recorded the number of calls that its crew schedulers were

required to make to pilots to find a volunteer to accept each open time trip. (Id. ¶ 27.) In 2015,

Atlas’ crew schedulers averaged 1.5 calls to pilots per open time trip. (Lee Report ¶ 23, Ex. 8.)

That average increased to over two calls per open trip during the first eight months of 2016, and

to over three calls per open trip since September 2016. (Id.)

       Notwithstanding the extra calls Atlas is making to cover open time, Atlas is experiencing

an increase in unfilled open time flying. (Carlson Decl. ¶ 27.) Between January 2015 and

February 2016, there were no months where the monthly proportion of open trips left unfilled

was over 5%. (Lee Report ¶ 24, Ex. 9.) Since February 2016, there have been 11 months with

over 5% of open time trips unfilled, and that rate soared to 42% unfilled in December 2016. (Id.)

Additionally, the percent of Atlas pilots who either placed themselves on the volunteer list for

open time flying or elected to pick up open time flying on their days off started decreasing after

February 16, 2016. (Id. ¶ 69.) That percentage reached its lowest levels in several years—at a

statistically significant rate that had a less than one-in-one billion chance of being random—

between “Black Friday” (the day after Thanksgiving and a kick-off to the peak holiday shopping




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season) and Christmas 2016. (i.e., when the Union picketed Amazon’s headquarters and

launched its advertising campaign aimed at the retailer, its customers, and Atlas). (Id.)8

       The concerted effort not to volunteer for and accept open flying has caused significant

delays. (Carlson Decl. ¶ 27.) When pilots do not volunteer for open trips, Atlas must staff them

with reserves who may be far away from the aircraft’s location or wait for another pilot to

become available. (Id.) Because Atlas’ reserve and other pilot resources are already stretched

because of a concerted sick-out and significant increases in fatigue calls, Atlas has not had the

resources to cover all open trips. (Id.)

               4.      Pilots Are Engaged In A Campaign To Block Out On Time (Or “BOOT”).

       As evidenced by the Union’s own words encouraging the BOOT campaign (“we’re

asking everybody—your EXCO is asking you to not block out early, ever, period. Period,

ever.”), and the resulting pilot change in behavior, it cannot be disputed that pilots are slowing

down by refusing to block out when the airplane is loaded and ready, as they did during normal

operations before the illegal concerted activity began—thereby reducing the operational

flexibility of Atlas and its customers. (Carlson Decl. ¶ 28.)

       The BOOT campaign, which encourages pilots to “block out on time,” is a misnomer

because there is no “on time” at Atlas. (Id. ¶ 29.) There is an estimated departure time, which is

set to the minute (e.g., 22:05) and is the latest a flight is expected to block out.9 (Id.) The


8
  There has not, however, been a commensurate increase in the amount of available open time
being offered. (Lee Report ¶ 24.) Rather, when Atlas began to experience a reduced willingness
among pilots to accept open time flying, it added additional pilots (at a substantial cost to the
Company), which means the amount of open time available declined from an average of 132
trips per month between January 2015 and February 2016 to only 73 trips per month from March
2016 to August 2017. (Id.)
9
 Since August 1, 2017, the estimated departure times for Atlas flights operated for Amazon have
been moved up by 15 minutes in an effort to mitigate the harmful effects of the BOOT campaign.
(Carlson Decl. ¶ 29.)


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estimated departure time is communicated to the flight’s crew. (Id.) For instance, DHL will be

aware that a flight carrying its express packages has an estimated departure time of 12:15 p.m.,

and therefore knows that the flight should depart no later than 12:15 p.m. (Id.) When a pilot

blocks out (i.e., releases the parking brake and begins push back or taxi) at the estimated

departure time, the flight is not “on time” if it was loaded and ready to leave prior to the

estimated departure time but failed to block out as soon as possible. (Id.)

       As shown in the Lee Report, before the illegal slowdown began, Atlas pilots regularly

exercised their authority and discretion to depart prior to the estimated departure time when the

cargo was loaded and all safety checks were performed for the vast majority of flights.10 (Lee

Report ¶¶ 30, 32.) By blocking out at the exact estimated departure time, as opposed to when an

aircraft is loaded and otherwise ready to depart, pilots have deprived Atlas (and its customers) of

substantial operational benefits from departures prior to estimated departure. (Carlson Decl.

¶ 30.) Atlas (and its customers) previously relied on these benefits as part of the status quo in

order to keep the airline moving efficiently and to maximize the ability to recover from

unavoidable delays. (Id.)

       The benefits from blocking out promptly, regardless of estimated departure time, and

instead when the aircraft is loaded and ready, are significant:

       •       The faster the aircraft gets off the ground, the more time Atlas has to address any
               maintenance items that may arise upon arrival at the next station.

       •       Prompt departures prior to estimated departure time provide a buffer that helps to
               ensure a timely, smooth running operation and make it more likely that a flight
               will arrive at its destination early or on time even if it experiences unexpected



10
  Unlike scheduled flights carrying passengers who depend on the scheduled departure time for
purposes of arriving at the airport and boarding their flights, there is no need for a cargo flight or
charter passenger flight to wait once loaded and ready. (Carlson Decl. ¶ 30.)



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               delays en route due to weather, maintenance needs, or air- or ground-based
               congestion.

        •      Early arrivals at the destination give crew members time to make connections or
               otherwise move to their next assignment.

        •      Prompt departures reduce airport and hub congestion for Atlas’ customers.

(Id. ¶ 31.)

        Indeed, these benefits are particularly important for Atlas’ customers who base their

package sort operations on a hub philosophy in which banks of aircraft fly in to unload at one

location (up to 120 at a time), and then the same aircraft wait for the outbound freight to be

loaded before departing back out to their respective spokes. (Id. ¶ 32.) These operations have to

be well-orchestrated because many aircraft are departing around the same time in order to arrive

at their destinations to meet delivery commitments. (Id.) As part of this planning, manpower

and ground equipment are allocated for the unloading/loading process. (Id.) These resources are

shared between aircraft, such that when a loaded aircraft moves, the personnel and ground

equipment are redeployed to the next departure that they are assigned. (Id.) If personnel and

ground equipment are not able to push out an aircraft when it is loaded and move on to the next

aircraft, the whole bank of aircraft is slowed down or backed up waiting for the loaded aircraft to

move. (Id.) Because Atlas pilots are refusing to depart when their aircraft is fully loaded, it is

now routine for aircraft to get backed up, causing pressure on the customers’ systems. (Id.)

        Given Atlas’ track record of normally departing prior to the estimated departure time and

the associated advantages, customers reasonably expect the Company’s flights to be able to leave

at the earliest practical time when loaded and ready. (Carlson Decl. ¶ 33.) For example, if an

earlier leg of a flight was delayed due to maintenance, customers expect that Atlas will do

everything that is within its power and safe to make up for that delay, including by blocking out

at the earliest possible time for the next leg of the flight. (Id.) And customers expect that Atlas


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will do everything that is within its power and safe to deliver cargo to its destination as early as

possible—including earlier than scheduled—to alleviate the harm that could be caused by delays

later in the shipping process. (Id.) Thus, when pilots intentionally wait until the estimated

departure time to leave even though they were cleared to depart, it deprives Atlas and its

customers of the aforementioned benefits, and Atlas’ customers become dissatisfied with the

Company’s operational performance. (Id.)

       As detailed in the Lee Report, the data on the effectiveness of the BOOT campaign,

which has impacted both the B-767 and B-747 fleets and has damaged all of Atlas’ customers,

including DHL, Amazon, and passenger charter flights flown for the U.S. military, is statistically

significant at the 99% confidence level.11 (Lee Report ¶¶ 57-59.).

       •      Prior to the Union sending its Section 6 notice, nearly 80% of Atlas’ flights
       blocked out prior to their estimated departure time when loaded and ready, with the
       balance of the flights departing either after their estimated departure time or exactly at the
       estimated departure time. Since February 16, 2016, only approximately 34% blocked out
       when loaded and ready prior to the estimated time of departure. (Lee Report ¶ 30, Ex.
       12.)

       •       Controlling for other factors, such as weather, pilot utilization, and fleet age, the
       proportion of flights departing exactly at the estimated time of departure has increased by
       31.9 percentage points since February 16, 2016, while the proportion of flights departing
       after the estimated time of departure has increased by only 3.1 percentage points. (Id. ¶
       39, Ex. 14.)

       •        Since February 16, 2016, as a result of the BOOT campaign, the average minutes
       of departure delay for the Atlas fleet has increased by 6.3 minutes, an increase that is
       statistically significant at the 99% level of confidence. (Id. ¶ 58, Ex. 23.)

       •       The proportion of Atlas’ daily flights that blocked out exactly at the estimated
       time of departure has been well above the upper 99% confidence threshold on 93% of
       days since February 16, 2016 (i.e., 543 of 582 days), and every day since April 9, 2016.
       (Id. ¶ 41, Ex. 15.)




11
  All figures discussed in this section apply only to flights with neither uncontrollable delays nor
secondary delays. (Lee Report ¶¶ 30-33, 38-39, 41.)


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        Dr. Lee concludes that the probability of this proportion of departures exactly at the

estimated time of departure being random is a virtual impossibility (i.e., far less than one-in-

one-billion). (Id. ¶ 41.) As such, the BOOT campaign is demonstrably the result of a concerted

action by pilots to disrupt Atlas’ operations in order to exert leverage over the Company during

negotiations. (Id.)

        In addition to this statistical analysis demonstrating concerted BOOT activity harming

Atlas and its customers, further evidence shows that pilots are following the Union’s call to

refuse to block out until the estimated departure time. (Carlson Decl. ¶ 34.) For instance, Atlas

received the following complaint from a senior representative of a customer about a July 23,

2017 flight: Following a number of delays, “[a]fter arrival at [Allentown airport], the aircraft

was ready for departure to [Ontario airport] at 1955Z. The expectation was set to depart ASAP

upon quick-turn of the aircraft to ensure an on-time arrival . . . . The aircrew refused to depart

until the ‘scheduled’ time set by Atlas (2039Z). The issue . . . was escalated to Atlas and the

aircraft blocked out at 2023Z . . . .” (Id., Ex. 89)

        On August 2, 2017, a crew similarly refused to block out before a flight’s 5:30 p.m.

estimated departure time. (Id. ¶ 35.) The cargo was fully loaded at 4:34 p.m., but the Captain

ignored the ground staff handling the paperwork necessary for departure. (Id., Ex. 3.) When

finally asked if he was “good to go,” by the station manager, the Captain responded that they

were, but the flight was not scheduled to block out until 5:30 p.m. (Id.) When the manager then

pressed that Captain to address the paperwork necessary for departure, the Captain finally did so

at 5:17 p.m. (Id.) Despite finally completing the paperwork, closing the aircraft doors, and

being ready for departure at 5:20 p.m., the aircraft did not block out until exactly the 5:30 p.m.

estimated departure time. (Id.)




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       For an August 25, 2017 flight set to depart at 5:30 p.m., loading was completed an hour

prior to departure and the doors closed seven minutes early, but the plane blocked out three

minutes late. (Id. ¶ 36.) The station manager did not know how to code the delay, so he sent a

message to the crew asking what happened. (Id.) Through the aircraft’s notification system, the

Captain wrote that he started the engines “on time,” but “IF WE HAD PUSHED IT WOULD BE

CONSIDERED EARLY.” (Id.)12

               5.      Pilots Have Significantly Increased The Number Of Maintenance Write-
                       Ups On Atlas Aircraft.

       Atlas has a comprehensive maintenance program to ensure the safe operation of all of its

aircraft. (Carlson Decl. ¶ 38.) As part of this program, pilots are permitted to write-up any

maintenance item of which they become aware, but FAA regulations allow an aircraft to operate

with open maintenance issues that do not affect airworthiness—called Minimum Equipment List

(“MEL”) items. (Id.) By searching out and insisting on the immediate repair of minor items,

such as worn seat cushions, missing linens, or inoperable coffee makers—particularly at stations

where Atlas does not have a full maintenance operation or where the nearest station with a full

maintenance operation is a continent away—pilots can significantly delay a flight. (Id.) While

Atlas, like most carriers, gives its captains discretion to require a MEL repair be made before

departure, pilots ordinarily and historically exercise their authority to defer the maintenance of


12
   Pilots are also more slowly taxiing in and out of the airport. (Carlson Decl. ¶ 37.) Aircraft
taxi time is the time between when a pilot releases the aircraft parking brake and takeoff (“taxi-
out time”) or the time between landing on the runway and applying the parking brake at the
destination (“taxi-in time”). (Id.) Pilots have the ability to exert considerable influence on the
speed at which they taxi aircraft before take-off and after landing. (Id.) Slowing down taxi time
is a tactic that the pilots have used to delay flight departures and cause increased costs to Atlas.
(Id.) Since February 2016, after controlling for other factors likely to affect taxi times, each
Atlas flight has taken on average 0.62 minutes longer to taxi-out and 0.60 minutes longer to taxi-
in. (Lee Report ¶ 50.) Based on conventional statistical analysis, these changes in pilot behavior
are statistically significant at the 95% and 99% confidence levels, respectively, and cannot be
explained by chance. (Id.)


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MEL items until such time as the maintenance would not cause a delay. (Id.) Pilots therefore

are not engaging in normal operations if they write up maintenance items other than those that

affect airworthiness. (Id.)

       Since February 16, 2016, the pilot write-up rate has increased by 43.4% on Atlas’ B-767

fleet. (Lee Report ¶ 46, Ex. 17.) This change in pilot behavior cannot be explained by other

factors that would typically be expected to affect the rate at which pilots submit mechanical

write-ups. (Id. ¶¶ 45-46, Ex. 17.)

               6.      Pilots Are Delaying Flights Due To Rejected Crew Meals.

       Atlas provides its pilots with crew meals pursuant to Section 5.E. of the Atlas CBA.

(Carlson Decl. ¶ 39.) All crew members receive sandwiches, fruit, and beverages on their

flights, regardless of the length of the trip. (Id.) But the quantity and type of these items, and

whether the crew also receives hot meals, is determined by the length of the flight and the time

of day the flight is scheduled for departure. (Id.) Historically, when a pilot found a catering

deficiency, he typically would file a Flight Crew Report to alert Atlas of the deficiency and ask

for meal vouchers to purchase his own meals in the future. (Id. ¶ 40.) Following receipt of such

a Flight Crew Report and addressing the issue with the catering vendor, Atlas typically would

notify the crew member of its findings. (Id.) Pilots very rarely—if ever—took a delay as a result

of catering issues. (Id.)

       The pilots’ response to catering issues has changed dramatically over the last six months.

(Id. ¶ 41.) In February 2017, the Atlas Catering Committee of Local 1224 issued a “reminder” to

Atlas pilots that they have “the right to insist upon a contractually-compliant crew meal,

including, if necessary, requesting that the company delay the departure of the flight until the

crew meal arrives. We understand that a decision to delay a departure is not inconsequential. In

some locations, it may be difficult to find catering. Nonetheless, our contract applies to all


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locations because the physiological effects of poor nutrition do not discriminate on the basis of

cities or continents.” (Id., Ex. 43.) Both before and since that “reminder,” Atlas has seen a

noticeable increase in the number of crew meal-related flight delays beyond normal pilot

behavior. (Id.)

        These catering-related “SHOP” tactics involve similar behavior: flight crews refuse

catering due to some complaint about temperature or taste, reject alternative options provided

(including meal vouchers or substitute meals), and cause the flight to take a delay as a result.

(Id. ¶ 42.) These meritless actions by the crew have led to customer complaints (including

customer requests to have certain crew members removed from flying for that customer), and the

loss of business to competitors. (Id.) This is exactly what happened on July 18, 2017. (Id., Ex.

85.) A pilot refused both the planned catering and alternative options for catering, which caused

the flight to be grounded and ultimately not fly to its originally-scheduled destination. (Id.) Not

only did this leave Atlas without sufficient coverage to operate the rest of its planned routes

(since the aircraft and crew never made it to the destination), but it also forced Atlas’ customer to

contract coverage with a different cargo carrier at an additional cost of $30,000, resulting in lost

business and lost customer goodwill for Atlas. (Id.) The customer, having recognized the cause

of the flight cancellation, requested that this crew never fly for it again. (Id.)

                  7.    The Cumulative Effect of Changes in Pilot Behavior Have Created A
                        Statistically Significant Increase In Prolonged Delays Due to Crew
                        Actions.

        Starting in December 2016 (i.e., around the time that late sick calls began to increase and

open time acceptances began to decrease), as shown below, the rate of prolonged delays of at

least six hours increased from 1.4% to 2.4%. (Lee Report ¶ 52.)




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understaffed and suffering as a result of massive attrition. (Id. ¶ 26.) This contention is belied

by the evidence. (Id.) Atlas has been aggressively hiring pilots since 2014 in response to

increased demand for its services, including its contract with Amazon to add 20 Prime Air B-

767s to its fleet through 2018. (Id.) Thus, factoring in Atlas’ pilot attrition, the number of active

B-767 pilots at Atlas nonetheless has grown by 169% since January 2014, even though the

number of B-767 aircraft in Atlas’ fleet has expanded at a slower rate (155%) over the same

period. (Id., Ex. 10.)

       As a result of Atlas’ proactive hiring, Atlas’ block hours per pilot are below prior periods

of high operating activity and well within normal bounds, demonstrating that Atlas is more than

adequately staffed for its current level of demand. (Id. ¶ 27.) For example, in all but one month

since February 2016 for B-767 and B-747 pilots, the average block hours per pilot at Atlas has

been below the average from January 2013-January 2016. (Id., Ex. 11.) Thus, contrary to the

assertions by the Union that Atlas is understaffed, the level of pilot staffing at Atlas is at or

above historical norms at Atlas. (Id.) Thus, there is no reason to believe that absent a concerted

slowdown by pilots, the Company would be experiencing a simultaneous increase in fatigue

calls, short-notice sick calls, and a reduced willingness to volunteer for/pick up open time. (Id.)

       D.      The Slowdown Has Been Orchestrated And Encouraged By Defendants.

       There is significant and compelling evidence that Defendants are encouraging pilots to

engage in an illegal slowdown in order to put pressure on Atlas in the ongoing labor

negotiations. (Carlson Decl. ¶ 44.) Defendants have an extensive system of communications

that they maintain among their members, including electronic messages, regular meetings, and

internet sites available to union members. (Id.)13 Through these communications, Defendants


13
  Defendants possess a large number of confidential communication mechanisms to which Atlas
does not have access, including its password protected internet site. (Carlson Decl. ¶ 44.)


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have made it clear to the pilots their belief that Atlas will accede to Defendants’ bargaining

demands—but only if the pilots change their status quo behavior in order to force Atlas to do so.

Indeed, the Union has expressly told pilots to “SHOP”—i.e., “stop helping out Purchase [Atlas’

headquarters]”—as they were doing prior to the Union’s campaign. These communications are

detailed in full in the accompanying Carlson Declaration, but because of the volume of the more

than 100 communications from Defendants, they are summarized more briefly here.

               1.      Defendants Encouraged Pilots To Change Their Status Quo Behavior On
                       A Concerted Basis At The Time Defendants Served Their Section 6
                       Notice.

       Since January 2016, Defendants have been encouraging pilots to change their RLA status

quo behavior on a concerted basis and not to do anything to help Atlas that is not expressly

required by the parties’ CBA as a means to gain leverage. (Id. ¶ 45.) This is commonly known

as “flying the contract” or “following the CBA.” For example, in the January 29, 2016 Atlas

Teamsters Action Message” (“ATAM”), a bi-monthly podcast led by Captain Griffith,

Communication Chair of Local 1224’s Atlas ExCo, Defendants said:

       So that’s what following the CBA looks like. Know what your obligations are.
       Be prepared to wait for the Company to fulfill theirs. It’s not your job to do it.
       And it’s not your job to be an on time take off. It’s theirs . . . And why do we care
       about following the CBA to the letter? Because it helps us. And what it doesn’t
       do is help the people who refuse to help you and your family. It helps us as a
       Union hold the line and help others by supporting the tough decisions on the line
       that each crew member has to make when they deal with the Company.

(Id. ¶ 46, Ex. 5 at 20:19-21:1, 21:9-16.)

               2.      In February 2016, Defendants Began Releasing A Series Of Videos
                       Encouraging Pilots To Slow Down.

       In or around February 2016, Defendants began a series of communications to pilots

regarding changing their status quo behavior on a concerted basis, including a series of videos

addressing fatigue, SHOP, and BOOT. (Id. ¶ 48.) These communications focus so heavily on



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the precise metrics that pilots are using to slow down the airline that they confirm Defendants’

direct efforts to change pilot behavior unlawfully on a concerted basis in a manner that degrades

the operation. (Id.)

        The first video, released in mid-February, 2016, addressed fatigue. (Id.) The video

begins with the host saying that he called in sick last night and looking at a thermometer that

reads 105 degrees. (Id., Ex. 7 at 1:7-10.) He then says “The subject of this CBA Chat is fatigue.

Now, a fatigue call is not necessarily to say that you’re fatigued . . . It may be a call to say that

you will be fatigued.” (Id. at 1:12-14, 1:17-18.) At the same time, he pulls a hot water bottle out

from his shirt and says he’s “getting hot now.” (Id. at 1:15-16.) The video continues with

express instructions about how to “prove fatigue.” (Id. at 2:18-19.) The video ends with the

instructions: “So always be safe. Don’t fly or train fatigued. Remember . . . it’s your CBA.

They signed it. You use it.” (Id. at 3:21-4:4.)

        Defendants followed up this video with further ATAMs emphasizing the theme of pilots

changing their behavior so as to not help management. (Id. ¶ 49.) In the February 15, 2016

ATAM, Defendants stated: “Are you going to continue to sell your talents for a quick buck, or

are you going to stop doing the Company favors and follow the CBA to the letter and give your

EXCO and Negotiation Committee the leverage and power they need today?” (Id., Ex. 8 at 1:17-

21.) And in the context of discussing a slowdown campaign at another airline that “got their

attention,” Defendants said, “You know it did. And we have Atlas’ attention now”—admitting

that the Atlas pilots are engaged in the same slowdown activity. (Id. at 21:12-22.) Similarly, in

the March 15, 2016 ATAM, Defendants said:

        So as we bring this episode of the ATAM to a close, I would like to give a hat tip
        to our very professional aviators, who decided not to go to the Women in
        Aviation’s convention to help out Purchase in their recruitment of unsuspecting
        pilots in our industry. These people know how to shop. And shop stands for stop



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       helping out Purchase. It has kind of become a mantra on the line right now. And
       it goes hand-in-hand with following the CBA. You follow the CBA, as Gary
       [host of the CBA Chats] would say it, they signed it, you use it. But in everything
       else that’s outside of the CBA, like doing special favors and recruiting, stop
       helping out Purchase. And these folks are highest on the list right now. They are
       the master shoppers among us. Their efforts basically shut down the recruiting
       availability for Atlas at this conference.

(Id. ¶ 50, Ex. 9 at 21:22-22:18.)

       The second CBA Chat video, released in late February or early March, 2016, addressed

open time flying. (Id. ¶ 51.) The video tells pilots to strictly comply with the CBA, even if they

go against the Union’s instructions not to accept voluntary flying: “Now, what protection does

the lowly VXer [pilot flying on his day off] have? The entire CBA. Insist on your pre-duty rest.

Insist on your minimum rest, and every other provision of the CBA. If their trip falls apart, so be

it.” (Id., Ex. 10 at 3:17-22.) The video ends with the CBA Chat catchphrase of “It’s your CBA!

They signed it, you use it.” (Id. at 4:9-10.)

       In a CBA Chat released on or about March 26, 2016, Defendants focused on SHOP:

       Well, quite simply, it stands for Stop Helping Out Purchase. And is defined as
       doing the job that we were hired to do safely, professionally, competently, and
       within the CBA. It is not doing the jobs of others . . . When we ‘SHOP,’ we are
       then free to devote our duty time to promoting a safer operation, to adhering to
       CBA compliance, and to a more stress free, hence, safer operation. And safety is
       everything. As we go forward with these CBA Chats, I’ll endeavor to
       ‘amalgamate’ [a reference to a joint CBA covering the Atlas and Southern Air
       pilots] shopping into the CBA issues of the day.

(Id. ¶ 53, Ex. 11 at 1:16-20, 2:4-11.) The video then launched into a very detailed explanation of

the precise rules for pre-duty rest vis-à-vis schedule changes. (Id. at 2:12-5:4.) The host

explains that if you do not comply with these rules “you are hopping. You are helping out

Purchase. And more than that, you’re doing so by shortening your CBA allowed pre-duty rest.

And you are eroding safety. And no one wants that . . . Be a shopper [i.e., a person who Stops

Helping Out Purchase], not a hopper [i.e., a person who Helps Out Purchase].” (Id. at 5:2-14.)



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The chat ended with its catchphrase (“It’s your CBA! They signed it, you use it.”), and the host

added, “Safe shopping.” (Id. at 5:19-21.)

        In the March 31, 2016 ATAM, Defendants continued to encourage pilots to change their

status quo behavior by SHOPing and strictly complying with the Atlas CBA:

        To that end, we’re going to be focusing on crews and individuals who rise above
        the daily incompetence of headquarters and score a win for the crew force by
        SHOPing. What is SHOPing, you say? Well, it stands for Stop Helping Out
        Purchase. And when we do this one thing, requiring some judgment on your
        part, and strictly following the CBA, it emphasizes to management how
        important and valuable a well compensated and highly motivated crew force
        can be to enhancing their operations and customer satisfaction.

(Id. ¶ 55, Ex. 12 at 10:9-19 (emphasis added).) The very next day in the April 1, 2016

Chairman’s Update, Captain Kirchner emphasized this same message:

        There are a lot of new people working in Purchase and unfortunately the company
        has not taken the time to train them properly or teach them the CBA. You must
        be vigilant and guard your rights every day. I also want to ask you all to redouble
        your efforts to help out and indeed take our probationary pilots ‘under your wing’.
        These fine men and women need your guidance and protections as they weave
        their way through the many treacherous pitfalls here at Atlas . . . As we move into
        the busier part of the year, this is a good time to review your rights under the CBA
        . . . . Remember, your union stands 100% behind you with regard to CBA
        enforcement and adherence. You will not be disciplined or harassed for strictly
        following the CBA.

(Id. ¶ 56, Ex. 13.)

        The April 12, 2016 CBA Chat focused on rest periods for the express reason of being

able to “hold the Company down, keep within our CBA, and stop them using us as reserve

pilots.” (Id. ¶ 57, Ex. 14 at 1:7-15.) Like the other CBA Chats, this video provided express

instructions for how to strictly comply with the Atlas CBA when it comes to rest. The chat also

discussed the BOOT program in great detail: “And this is all about shopping. BOOT stands for

Block Out On Time. And we are not doing this. We are going early, left, right, and center.” (Id.

at 18:19-22.) Even more expressly, Defendants said, “we’re asking everybody—your EXCO is



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asking you to not block out early, ever, period. Period, ever.” (Id. at 20:19-21.) Defendants also

said they would pressure those who block out early by publicly posting identifying information,

including on Facebook, so others can see “exactly who is hopping,” because “100 percent block

out on time . . . sends the Company, sends Ford Harrison an excellent message back that says we

are together. No flights coming out early.” (Id. at 41:20-43:6, 47:2-12.)

       In discussing “other great shopping tips,” Defendants advised “don’t go fast.” (Id. at

48:22-49:2.) One chat participant said that his “taxi speed is a safe, very safe taxi speed,” and he

has “been seeing a lot of guys taxiing pretty fast” and he has been “wondering what the hell

they’re doing.” (Id. at 52:10-16.) The chat host added, “We are paid to be professional pilots.

We’re not paid enough, Lord knows, but we’re not being professional pilots when we are

hopping. We’re being professional pilots when we SHOP.” (Id. at 52:18-22.) The chat ended

with a discussion of how pilots who do not slow down “have got hopper written on their

forehead”—“or worse”—and that “most of these guys . . . don’t want to be on the bad list.” (Id.

at 58:16-18, 59:19-21.)

       Similarly, in the May 13, 2016 ATAM, the Union said: “Airlines such as Lufthansa

know full well, unhappy pilots can be very costly. Merely stating that they will be happy to see

Atlas expand is to miss or willfully ignore the point. Atlas’ customers will not be happy if the

planes stop flying.” (Id. ¶ 61, Ex. 16 at 14:11-16.) They later added, “All we have to do is

follow the CBA, shop, and boot. And that’s what your Union asks of you.” (Id. at 17:3-4.)

               3.      Defendants Continued To Encourage Pilots To Slow Down Throughout
                       The Summer Of 2016.

       The June 20, 2016 CBA Chat focused on BOOT: “BOOT stands for Block Out On Time.

And starting immediately, your EXCO are requesting that we all strive to block out on time, no

early departures . . . By blocking out on time, you are a shopper. And you’re promoting a safer



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and CBA compliant operation.” (Id. ¶ 64, Ex. 19 at 1:7-11, 2:4-6.) The host ended the chat by

advising pilots to “SHOP safely” and with the CBA Chat catchphrase (“It’s your CBA! They

signed it, you use it.”). (Id. at 3:6-10.)

        The June 27, 2016 Chairman’s Update stated: “I ask you again to stick to the CBA and

enforce it strictly. Remember, your union will stand behind you.” (Id. ¶ 65, Ex. 20.) This was

echoed by Defendants in the June 30, 2016 ATAM: “Time will tell, but we are in for a long

fight for a fair contract. But believe me, it will be worth it. Very worth it, indeed. Your EXCO

also wishes to remind you that your adherence to the CBA and all the things each and every one

of you are doing daily are having a tremendous affect and it’s working.” (Id. ¶ 66, Ex. 21 at 7:7-

13.)

        In the August 26, 2016 Chairman’s Update, Captain Kirchner stated:

        Let me finish up by asking each and every one of you to show a new and more
        steadfast resolve toward contract compliance and adhering to some of our
        ongoing programs. We anticipate that the company will be stretched to the limit
        and beyond in the fourth quarter. We all know what that means when they get in
        a jam. This company may then attempt to throw out the CBA and any other rule
        that gets in the way, resorting to any means possible to make the flight go.
        Therefore, be vigilant, don’t back down and hold on to your license and CBA
        tightly. Use the QR pamphlet [a “quick reference” pamphlet issued by the
        Union], it’s a great guide that was painstakingly put together to help all of us in
        CBA enforcement. Use the union to back you up. We are anticipating a very
        chaotic fourth quarter.

(Id. ¶ 69, Ex. 23 (emphasis added).)

        In the September 30, 2016 ATAM, Defendants made multiple comments encouraging

pilots not to volunteer to fly: “The Company, you know, speaking of pilots, is now so short the

schedulers have been told to call pilots on their days off, at home, and solicit them to fly. The

program, so far, is falling flat, as most are either not answering their phone or refusing to come

out on their days off, which is their right under the contract. Scheduling is getting very

desperate. And they’re running out of options.” (Id. ¶ 73, Ex. 28 at 9:3-12.) Captain Griffith


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said, “I am not going to volunteer my time to help the Company until we have a signed CBA that

helps me and all of us.” (Id. at 11:14-16.) The ATAM also encouraged pilots to change their

status quo behavior and strictly comply with the CBA to support the Union: “Knowing what the

CBA says and letting folks search their own conscience for the right choice when it comes how

to interpret their individual actions when they are part of a Union team are really good examples

of effective solutions not involving overthinking or making something more complicated than it

needs to be.” (Id. at 15:18-16:2.)

               4.      In The Fall Of 2016, Defendants Intensified Their Slowdown Campaign
                       By Falsely Claiming That The Operation Is In Trouble Due To Attrition
                       And Remaining Pilots Should Not Help The Operation.

       Around this time, Defendants began intensifying their slowdown efforts by tying pilot

attrition rates to slowdown activities. (Id. ¶ 74.) In the October 14, 2016 ATAM, for example,

Defendants explained why changing status quo behavior and strictly complying with the Atlas

CBA helps the union in negotiations given the alleged lack of sufficient pilot staffing:

       Regardless of what any newly minted VP may have to say about it or may have
       sold to their supervisors in the past, no reserves are available because they have
       called them all out on day one. People not willing to extend their trips, people
       choosing to spend time with their families, and the multitude of other reasons
       Purchase cannot contact crew members to plead for help makes their failure
       obvious. And the system can and has, in the past, come crashing down on them
       like a house of cards.

       Having individual crew members follow the CBA helps to educate each of us on
       our rights and our responsibility under this legally binding document, regardless
       of whether we love or hate it. So what would you choose to follow? Follow our
       Union that asks you to follow their guidance and the contract, or follow Purchase
       who can’t seem to comply with this contract and constantly asks you for favors to
       shore up their shoddy planning and execution schemes. The choice is actually
       simple. And as always, it’s completely yours. So choose wisely.

(Id. ¶ 76, Ex. 30 at 2:7-3:7.) Defendants then explained some of “those things in the CBA we’re

not required to do”: “You are not required to bid or accept open time flying or VX. You are not




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required to answer your phone when on days off. You are not required to answer your phone

when on vacation . . . .” (Id. at 19:2-9.)

       The ATAM closed with the usual admonition: “We have learned we have choices. We

have learned what some of those choices look like. We have learned that following the CBA is

a simple and extremely effective way to give our Union all the leverage it needs to score points

during talks and negotiations with Purchase.” (Id. at 20:1-6 (emphasis added).)

       In the October 31, 2016 Chairman’s Update, Defendants heavily emphasized changing

status quo behavior in the form of strict compliance with the Atlas CBA:

       On a much better note, your efforts, solidarity and adherence to the CBA has been
       remarkable. As I have told many of my fellow union workers, this pilot group has
       far exceeded my expectations on unionism and standing up for our rights under
       the CBA . . . Remember, every time you enforce the CBA you not only make our
       union stronger you also improve your life and make things better for yourself in
       many more ways than a $50 voucher or a few overtaxed overtime hours could
       ever do.

       Do not allow the new untrained people in Purchase to put you or your fellow crew
       members in harm’s way, by leading you into situations which violate basic safety,
       the CBA or the FARS . . .

       As always, our slogan is most important now.

       It’s Up to ME, every day.

(Id. ¶ 78, Ex. 31 (emphasis added).)

       On November 22, 2016, Giant Comms, a Twitter handle run by “a group of professional

Pilots at Atlas & Southern Air,” threatened Atlas via a tweet related to a strike Defendants called

at ABX, one of Atlas’ competitors, that very same day.14 (Id. ¶ 80, Ex. 4.) Giant Comms


14
  This reference is to the strike that Defendants conducted against ABX in 2016. Like
Defendants and Atlas, Defendants and ABX are involved in collective bargaining negotiations.
See ABX Air, Inc. v. Int’l Bhd. of Teamsters, Airline Div., Case No. 1:16-cv-1039 (S.D. Ohio),
Docket No. 16 at 4. In the early morning hours of November 22, 2016, two days before
Thanksgiving and just three weeks after assuring a court that it did not intend to strike at ABX,
Defendants called a strike. See ABX Air, Inc. v. Int’l Bhd. of Teamsters, Airline Div., Case No.

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tweeted to Atlas that “a Q4 like ABX’s will be yours without industry parity wages for

@Teamsters pilots” and that Atlas’ customers “@DHLUS, @amazon & @JeffBezos not

amused.” (Id.) Giant Comms also tweeted: “@JeffBezos & @amazon really should cause

heads to roll at ABX, because this could spread to other air carriers!” (Id.)

                5.      Defendants Acted On Their Threats, And In December 2016, During The
                        Peak Holiday Season, They Intensified Their Campaign And Continued
                        To Threaten Atlas’ Customers.

        Heading into December 2016 and leading up to the holidays, the threats towards Atlas’

customers intensified. (Id. ¶ 83.) On December 7, 2016, Giant Comms tweeted at Amazon’s

CEO: “we hope Atlas Air management isn’t telling you everything is under control, because it

isn’t”; “it’s time to come to the table to settle this”; “This isn’t just going to go away. Let’s settle

this tomorrow before the real holiday crunch.” (Id., Ex. 4.)

        Atlas attempted to persuade Defendants to stop their illegal campaign and abide by their

statutory obligations by sending a letter on December 19, 2016, informing Defendants that the

pilots’ increased use of sick leave and the refusal of crew members to volunteer for and accept

open time flying in the ordinary course (as discussed above) were a violation of the RLA and

requesting that they take immediate actions to stop the slowdown. (Id. ¶ 86, Ex. 36.) In

response, Defendants sent a letter, dated December 21, 2016, denying that they were engaged in

an illegal slowdown, accusing Atlas of “posturing, bombast and bluster,” and failing to provide


1:16-cv-1096 (S.D. Ohio), Docket No. 13 at 1, 6. The unlawful strike lasted for almost two days
during the critical holiday peak period before it was enjoined by the federal district court. See id
at 14.

Although the strike was called against ABX, Defendants instructed pilots working for Atlas not
to cross the ABX picket line erected in Cincinnati. (Carlson Decl. ¶ 80.) Because Atlas has a
significant presence at the Cincinnati airport, its operations were severely disrupted and over 20
flights were cancelled as a result. (Id.) Businesses that were depending on Atlas at this make-it-
or-break-it time of year, and individuals who were counting on Atlas to deliver their holiday
packages were disappointed by the resulting delays in service. (Id.)


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any assurances that Defendants would take any action to stop the pilot slowdown. (Id., Ex. 37.)

Instead, in their letter, Defendants continued to perpetuate the allegation that Atlas has a problem

with “attrition, scheduling, and staffing . . . .” (Id.) And in a further effort to rile and mislead

their members, in a Chairman’s Update on December 22, 2016, Defendants sent Atlas’ letter to

pilots and tied the letter to contract negotiations—Atlas’ “quest to keep us at the low ‘bargain

rates’ they currently enjoy for pilot labor.” (Id., Ex. 38.)

                6.      Defendants Continued Their Slowdown Campaign Into 2017.

        In the January 6, 2017 Chairman’s Update, Captain Kirchner started the year with a very

direct message to pilots that the slowdown is working and they should continue slowing down:

        Our pilots are All In and will not fall victim to such management-sponsored
        treachery. Our pilot group is firmly resolved in its determination to secure a fair
        contract.

        The good news for our union, and bad news for management, is that most of you
        are fighting back and calling them on their games. Crew members are daily
        learning to defend themselves with the CBA to even the playing field to thwart
        the constant attacks on our CBA . . .

        Our combined resolve and all of the initiatives we began in 2015 were very
        effective. In 2016, we were vastly stronger and became better as a group. We
        have strong evidence of how effective we have been, and you should all be very
        proud of your individual supportive actions and those of our group as a whole.
        However, we cannot rest on our laurels. Now is the time to call on all our new
        strength and capabilities and step up the fight in 2017. This will be a VERY
        pivotal year for us and it will depend on each and every one of YOU enforcing the
        CBA very strictly. What you do every day will dictate whether the anti-union
        policies win our future or not. We must not let them punish and harass us into
        submission. This is more than just a battle between labor and management; this is
        an attack on unionism in general and is an attack on the entire Teamster
        organization.

(Id. ¶ 89, Ex. 40 (emphasis added).)

        Similarly, in the January 15, 2017 ATAM, Defendants repeatedly encouraged pilots to

strictly comply with the Atlas CBA even though inconsistent with the pilots’ status quo behavior:




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       •       “Now is the time to call on all our new strength and capabilities and step up the
               fight in 2017. This will be a very pivotal year for us. And it will depend on each
               and every one of you enforcing the CBA very strictly.” (Id. ¶ 90, Ex. 41 at 5:13-
               17.)

       •       In the context of discussing individuals who are “unmotivated and likely planning
               to leave their current place of employment,” Defendants said “Ever heard of
               SHOP, Stop Helping Out Purchase?” and “What about all those other things that
               aren’t required in the CBA.” (Id. at 12:12-14, 13:7-8, 15:4-5.)

       In a February 7, 2017 communication called “Catering Reminders,” Defendants

encouraged pilots to blame catering as a basis for calling out fatigued:

       The increasing number of crew reports have revealed sandwiches which tend to
       have varying degrees of edibility and hot meals that cannot even be identified, let
       alone consumed. . . A failure to provide crew meals in accordance with the CBA
       violates our labor agreement and may, in some cases, affect the safety of
       operations. Crew meals are required so that crew members can satisfy their
       nutritional needs during the duty day, which is an essential part of maintaining
       fitness for duty. As airline crew members YOU have the obligation per the FAA
       to be fit for duty. PRIOR TO BLOCKING OUT, ensure that the meals are
       contract compliant. Those who operate long legs and long duty days without
       proper nourishment or sufficient caloric intake, are potentially subject to low
       blood sugar levels, a recognized cause of pilot fatigue . . .

       A failure to provide crew meals in accordance with the CBA violates our labor
       agreement and may, in some cases, affect the safety of operations. Poor nutrition,
       including insufficient caloric intake, which can lead to low blood sugar levels, is a
       recognized cause of pilot fatigue. Under the FARs, pilots share responsibility for
       the safety of flight operations. All crewmembers must refrain from engaging in
       any careless or reckless actions.

(Id. ¶ 93, Ex. 43 (emphasis added).)

               7.      Defendants Encouraged A Concerted Change To Status Quo Behavior In
                       The Spring of 2017.

       The March 31, 2017 ATAM encouraged pilots to invoke the Atlas CBA, i.e., to change

their status quo behavior, and repeatedly mentioned how Defendants’ ongoing campaign was

working:

       •       “Hold them accountable. Don’t give them a break or do them any favors. Hold
               them to their delineated responsibilities in the CBA and each LOA . . . Hold the
               line with solidarity in check with your Union, and even the most overwhelming


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               enemy cannot hope to beat us. The prosperity of the markets and the finite supply
               of qualified available pilots, who choose not to stay at this pathetic excuse for an
               airline, coupled with Purchase’s own growth plans has put this timeline in our
               favor, not theirs. So hang on, everybody, as this labor dispute comes to a head.
               We’re seeing cracks in that finely polished veneer of businessmen and executives
               in Seattle; Florence, Kentucky; and yes, Purchase, New York. And we have only
               had to SHOP and BOOT to make those cracks form and make our point.” (Id.
               ¶ 107, Ex. 53 at 2:22-3:20 (emphasis added).)

        •      “This whole thing would come to a screeching halt if some of your guys didn’t
               continue to help [Atlas] out.” (Id. at 6:20-22.)

        •      “But with the rest of us in solidarity with our Union, helping that person to come
               to the right decision that needs to be made because, let’s face it, a lot of these
               decisions can go either way, holding the line on a contract, making sure the
               contract is fulfilled, making sure that all of the myriad of regulations are complied
               with takes a team. And it takes a solidified force to make sure that we move
               safely and efficiently only when everything is ready and safe.” (Id. at 16:19-
               17:6.)

        On April 13, 2017, Defendants sent a play-by-play for how to change status quo behavior

by strictly complying with the Atlas CBA, titled “April 2017 Steward News.” (Id. ¶ 108, Ex.

54.) The communication outlined “several items of which you should be aware” and identified

numerous contract provisions and how to strictly follow them, even if doing so would be

contrary to the status quo required under the RLA. (Id.) For example:

        Notification and schedule changes should be conducted in accordance with the
        CBA. The FCOM contains the only procedures you are required to follow, and
        you should follow them in their entirety. Your logbook should contain NO open
        write ups prior to start. Conduct a complete preflight. Have a full crew, in the
        seats. Perform ALL checklists, and don’t forget to check the catering. If at any
        time you feel the safety of the flight is compromised, CBA Section 26.R. contains
        protections to cover you. Don’t forget to call the company after you get back to
        your hotel room to start your rest period. Finally, if you experience any safety or
        FAA violations please use https://hotline.faa.gov or call 1-800-255-1111.15

(Id.)


15
  CBA Section 26.R provides: “Nothing in this Agreement will be construed to require a
Crewmember to take any action if he reasonably believes that such action will result in
substantial and imminent risk of harm to the Crewmember or his equipment.” (Carlson Decl. ¶
108, Ex. 2.)


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       In the May 15, 2017 ATAM, Defendants said: “I’m not even going to go into the favors

some of you out there continue to do to make a buck now instead of pulling on the rope with the

rest of us to make even better money tomorrow via a new and industry standard CBA . . . The

group that votes to follow the CBA and not their individual wallets is a good one.” (Id. ¶ 113,

Ex. 58 at 17:15-19, 18:4-5.)

       In the May 23, 2017 ExCo Update, Defendants expressly told pilots to call out fatigued:

“At the heart of the problem is that Atlas simply can’t retain pilots. As a result, they fall into a

reoccurring pattern of always being short and having to add more flying to lines thus reducing

needed rest. Meanwhile, management naively wonders why fatigue calls are up. Remember,

your union stands behind you and we are your line of defense against any sort of harassment or

intimidation relating to fatigue or any other issue. Do not endanger your life, the life of your

fellow crew members or the public by allowing the company to push you into flying fatigued.”

(Id. ¶ 115, Ex. 59 (emphasis added).) The communication closed with the standard “Always -

ALL IN.” (Id.)

               8.      Defendants Pushed Pilots To Increase The Slowdown Campaign’s
                       Intensity For The Second Half of 2017.

       In the June 23, 2017 Chairman’s Update, Defendants were as explicit as they had ever

been in encouraging a slowdown:

       Finally, let me talk about the company’s strategy of trying to wear you out. Atlas
       Executives believe that if they delay a new CBA long enough, you will lose your
       interest and your resolve and start violating the CBA, cutting corners and resign
       yourselves to the status quo and abandon our quest for an industry-leading CBA.
       This cannot be allowed to be the case! YOU must SHOP, BOOT and push back
       on their tactics harder than ever as we are starting to get the movement we
       desire. We are getting into the busy season during the second half of the year
       and it is now more important than ever to stay strong with your SOLIDARITY.
       YOU must not only honor the CBA every day and on every flight, but also hold
       management accountable. Be wary, as the company is more and more often
       cutting corners in all areas of their operation to make flights go. The shortage of
       pilots is increasingly creating serious safety, scheduling and rest issues. NEVER


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          risk yourselves, your crew, your passengers or a violation on your license due to
          their lack of planning or self-inflicted problems.

          Be ALL-IN every day.

(Id. ¶ 119, Ex. 63 (emphasis added).)

          In the June 30, 2017 ATAM, Defendants again called on all pilots to “SHOP, BOOT, and

push back on all [of the Atlas’] tactics harder than ever, as [they] are starting to get the

movement out of [Atlas] [they] desire.” (Id. ¶ 121, Ex. 64 at 4:1-3.) The Union went on to say:

“We are getting into the busy season during the second half of the year. And it is now more

important than ever to stay strong with your solidarity. You must not only honor the CBA

every day and on every flight, but also hold management accountable.” (Id. at 4:4-9 (emphasis

added.)

          On July 5, 2017, Giant Comms began a July Twitter campaign encouraging pilots to call

out fatigued/sick and then not respond to Atlas’ increased calls for open time flying and

reporting on that campaign. (Id. ¶ 123.) Giant Coms tweeted: “@AtlasAirWW Open Time trip

25! Maintaining rate of 5 trips per day UNMANNED due to lack of PILOTS WHO ARE BEING

SUED! CBA NOW! #1u #FUPM.”16 (Id., Ex. 4.) The tweet included the image of a dumpster

on fire labeled “2017.” (Id.)

          Shortly thereafter, in the July 14, 2017 ATAM, Defendants touted their success in

slowing down Atlas’ operations by saying these actions are what brought the Company to the

negotiations table. (Id. ¶ 129, Ex. 68 at 1:11:15.) The ATAM said: “[Y]our participation in the

BOOT and SHOP initiatives have shown that they’re [sic] planning and execution is so poor that

being held to following the CBA, which they agreed to, creates a complete debacle as an airline.”




16
     FUPM means “F*** You, Pay Me.” http://www.urbandictionary.com/define.php?term=fupm.


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(Id. at 2:20-3:2.) It goes on to call for picketing on the steps of one of Atlas’ customers and ends

by reminding pilots to “adher[e] to the FARS, the CBA, BOOT, [and] SHOP.” (Id. at 17:1-2.)

        From July 17 through July 29, 2017, Giant Comms issued a barrage of a dozen tweets as

part of its July campaign. (Id. ¶ 130, Ex. 4.) Giant Comms started by tweeting, “The

@AtlasAirWW dumpster fire burning WHITE HOT now as Open Time trip number passes 70

for July. Trips missing pilots: 4 PER DAY! #1u #FUPM” (with the image of the burning

dumpster labeled “2017”), and closed by tweeting, “As @AtlasAirWW issues RECORD OPEN

TIME TRIP 116, pilots are tired, aircraft are getting later and customers are becoming angered.

#1u #FUPM” (with an image of a fireman (labeled “BUSINESS MEN”) spraying a burning

dumpster (labeled “PURCHASE”) with a hose (with the water labeled “JET FUEL”)).

(Id.)

        In the July 28, 2017 Chairman’s Update, the Union directed pilots not to go on “self-

imposed” reserve and walked them through the process for ensuring they do not “unwittingly

turn themselves into reserve crew members.” (Id. ¶ 131, Ex. 69.) The message reminded them

to continue filling out maintenance reports, not accept inadequate or missing catering, and

“[e]nforce the CBA in its totality and hold the company to it.” (Id.) The message ended by

reminding the pilots to be “ALL-IN.” (Id.)

        In the July 31, 2017 ATAM, Defendants said: “We’re on a danger zone that could

possibly cause us to not only continue to lose pilots, but now also to start to lose customers. And

are there competitors out there that have their operations clearly organized in one sock. Oh yes,

they do. They also have CBAs with their pilots. Their pilots are more than happy to do the

extra things it takes to make an airline run in the myriad of operational things that happen to

make a flight go.” (Id. ¶ 133, Ex. 70 at 4:10-19 (emphasis added).)




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       These communications continued to be effective. On July 31, 2017, a reserve pilot was

assigned an open time flight. (Id. ¶ 134.) The reserve pilot, copying stewards@apa1224,

emailed Crew Scheduling to ask it to withdraw the message attached to the trip he was assigned

because it made it look as if he had voluntarily accepted open time flying, which “ma[de] [him]

out to be a scab to [his] union members by helping out the company and cheating [his] union

brothers and sisters out of a new and fair contract.” (Id., Ex. 71.)

       In the August 4, 2017 Chairman’s Update, Defendants pushed pilots to continue their

slowdown campaign. First, Defendants reminded pilots of the effectiveness of the campaign on

Atlas’ relationship with Amazon and alluded to the fact that the slowdown campaign would ramp

up as the peak holiday season approached: “More to come on this subject later this fall.” (Id. ¶

136, Ex. 72.)

       Second, Defendants encouraged pilots to call in fatigued: “Rather than address the ever-

growing serious maintenance issues, the fact remains that scheduling is constantly pushing crews

into dangerous situations, including fatigue violations, and chief pilots are threatening and

badgering crews to cut corners. The stress pilots are under, due to constant CBA violations by

flight operations and the safety situations that we are exposed to daily, is unacceptable.” (Id.)

       Third, Defendants continued to encourage pilots to change their status quo behavior with

respect to catering:

       Another safety issue which has recently cropped up is catering. It is no secret that
       this company cannot manage its vendors, specifically catering vendors.
       Attempting to browbeat and harass crew members into going without CBA-
       required catering and ignoring the physiological needs of the flight crew members
       in general is not a solution. Remember, your union leadership and our attorneys
       stand behind you. Know and enforce the catering provisions of the CBA, you are
       on firm ground and we will back you. Don’t be bullied!




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(Id.) The Chairman’s Update closed with an express directive to “fly the contract” (i.e., change

status quo behavior): “Remember your contractual contactibility rules and use them to the max to

protect yourselves and to get a better quality of life . . . Now more than ever be ‘ALL-IN.’” (Id.)

        Shortly thereafter, on August 15, 2017, the Union sent pilots a handbook for how to fly

the contract, entitled “Your TOP 10 CBA References for August.” (Id. ¶ 137, Ex. 73.) The

communication expressly said that pilots should “improve [their] quality of life” as Atlas moves

into its “busy season.” (Id.) The communication stated, “Your leadership asks that in

preparation for what’s to come you take the time to build on your understanding of these areas of

our contract. It would go a long way towards improving your quality of life and supporting our

ultimate goal of securing an industry-leading contract.” (Id.) The communication stated that

“CBA Sections 12, 25 and 31 are extremely important,” and then went on to quote from these

sections. (Id.) Not coincidentally, these sections, which cover issues like pilot rest/fatigue,

contactability, and sick calls correspond precisely with the ways in which pilots are illegally

slowing down. (Id.)

        On August 24, 2017, Giant Comms tweeted: “ENFORCE THE CBA, SHOP & BOOT!

IT’S WORKING! #1U #FUPM.” (Id. ¶ 140, Ex. 4.) The tweet included a photo of a stop sign

that said “SHOP” instead of “STOP.” (Id.) On August 31, 2017, Giant Comms tweeted a

picture of a dumpster on fire and wrote: “As @AtlasAirWW OPEN TIME PASSES 100

UNCOVERED TRIPS for the SECOND MONTH in a row, THE RAGING DUMPSTER FIRE

OF DENIAL GOES ON! #1u #FUPM.” (Id. ¶ 141, Ex. 4.). The next day, on September 1,

2017, Giant Comms launched its September count, tweeting: “So the currently rate for

September is 5 per day . . . should be an interesting month for @AtlasAirWW! #1u #FUPM.”

(Id.)




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        An August 31, 2017 ATAM encouraged ramping up various forms of job actions: “You

see how SHOP is working. You see how BOOT is working . . . Now is not the time to let up on

the accelerator or pressure on them to follow the CBA.” (Id. ¶ 142, Ex. 75 (emphasis added).)

The communication directed pilots to increase maintenance writes ups (“Do not accept shoddy

maintenance. Do not carry writeups from station to station. Be safe. Don’t fly with inadequate

or ill prepared equipment. And hold the line.”) and reject catering (“Catering is continuing to

deteriorate. Reject it if it’s inadequate. Reject it if it’s not fresh. Reject it if it’s not enough.

Order more.”) (Id.) The Union also threatened that pilots would harm Atlas during the peak

fourth quarter if rumors that the Company would not put “real money” into the CBA during

upcoming contract negotiations are accurate. (Id.) Specifically, Captain Griffith said, “Well, as

a pilot crew member, I can honestly say this will not be good for their fourth quarter, if this is

true.” (Id. (emphasis added).)

        On September 7, 2017, the Union’s “Stewards of Atlas” sent a communication

encouraging pilots to call out sick or fatigued, stating: “As we find ourselves in the midst of a

period of increased friction and hostility, we remind everyone to make absolutely certain that

you are fit for duty each and every time you report to work. Please, do not fly sick or fatigued.

All In, Every Day.” (Id. ¶ 143, Ex. 76.) On the same day, as part of its September Twitter

campaign, Giant Comms tweeted another photo of a dumpster on fire, stating: “Open Time Trip

35 for the first 7 days of September, makes 5 times per day @AtlasAirWW has no pilots to fly

known trips. CBA NOW! #1u #FUPM.” (Id. ¶ 144, Ex. 4.)

        The September 12, 2017 Chairman’s Update explicitly informed pilots that their

campaign was effective and encouraged them to further slow down:

        The delays on a daily basis are more the norm than the exception. Long gone are
        the days when Atlas was able to boast about its on-time performance. Operational



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       problems are becoming more and more commonplace. We see the company
       chartering corporate jets and using empty B-767s to position pilots. We see more
       maintenance delays. We see sub-standard maintenance incurring FAA
       violations. Seemingly, the only way the company can limp along is by daily
       violating our CBA, resulting in a mounting number of grievances being filed over
       contractual violations. Even the FARs are no longer held sacred. All of these
       problems contribute to low customer satisfaction and a loss of standing in the
       airline community. The crisis that Atlas Air has become is sad to watch.
       Moreover, it would have been preventable, had the company chosen to do
       business with the pilots in an honest and forthright manner, rather than inflaming
       anger among our crews by instituting a string of stall tactics.

       Now for the good news. We are now one of the most cohesive and well-educated
       pilot groups in the airline industry and literally the envy of most of the players.
       We enforce our CBA in a manner that legacy Atlas or Polar management has
       never seen before and they are frankly stunned by it. Our unity, camaraderie and
       team spirit both within our pilot group and throughout our union’s organization
       are unmatched. By working together, we provide leverage to our leaders that will
       win us this fight for industry wages and benefits! . . .

       I thank each of you and ask all of you, as usual, to keep it up and keep the
       pressure on as management struggles in the snare of their own making. Their
       self-induced attrition, combined with your enforcement of the CBA, are the keys
       in not letting this injustice continue; doing favors and cutting corners only enables
       the same pattern. The only way to effect change is to hold the line every day.

       Remember, “never waive any part of the CBA” and “never do them any favors”.
       As you all too well know, they are not giving us any waivers and most certainly
       are not doing us any favors these days.

The message closed asking pilots to be “All-In.” (Id. ¶ 147, Ex. 77.)

       On September 15, 2017, Giant Comms continued its September Twitter campaign,

tweeting account a picture of a dumpster on fire and wrote “@AtlasAirWW OPEN TIME #91 on

Sept 15 = more than 6 trips per day WITHOUT PILOTS to fly them! . . . CBA NOW! #1u

#FUPM.” (Id. ¶ 149, Ex. 4.) Captain Griffith retweeted this post, adding the Twitter handles of

DHL, Amazon, and Jeff Bezos, and writing “Reserves running low and your operations are in

jeopardy. @AtlasAirWW pilots need new CBA NOW! #1u #FUPM.” (Id.) He then retweeted

the message again, noting “the [open time] rate was 3 per day over the last two months; nose




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dive accelerating.” (Id.)

       In the September 15, 2017 ATAM, the Union directly and repeatedly threatened Atlas’

fourth quarter:

       The pilot shortage has left [Atlas] with very few options. They can’t [] now meet
       their reserve requirements with their customers and are planning on asking their
       customers for relief. You know, the important ones, Amazon, DHL, FedEx are
       starting to get very worried about what is going to happen during the busy
       season . . .

       Well, it looks to me like [Atlas] should make negotiating a new CBA their first
       priority, and start to smooth things out for themselves and their customers . . . I
       just heard the top guys have told the Company negotiators they’re not allowed to
       sign off on anything that involves money on anything related to the pilots. They
       have been told to string things along to keep line pilots happy and, you know, just
       get them through the fourth quarter. They think the pressure will be off after that,
       and then they can delay the pilots even further, until they get tired and, you know,
       eventually give in . . . [T]hat would be a bad strategy because, I’ll tell you what,
       from what I have seen on the line and talking to the pilots, they’re fed up. And if
       a CBA doesn’t come soon, fourth quarter is not going to be a happy time . . .

       Without a CBA for fourth quarter and with currently uncovered trip rate now at
       more than six flights per day in open time . . . I truly wonder how this Company
       will make it through fourth quarter with any customers left to support . . . .

(Id. ¶ 150, Ex. 78 at 7:8-14, 8:20-9:18, 19:19-20:6 (emphasis added).)

       The September 18, 2017 Chairman’s Update continued to push pilots to change their

status quo behavior: “‘No waivers and no favors’ is the clear and unmistakable rule we must

adhere to now more than ever. ‘SUCCESS’ will come through hard work and the perseverance

to follow through. As you strictly enforce our CBA, always remember, with us, ‘You Never

Walk Alone.’ The ExCo, Stewards and entire union stand ready to fight and protect your rights

and your determination to enforce the CBA. It is ALL up to US to make it Happen. You Never

Walk Alone in this Union! ALL-IN.” (Id. ¶ 151, Ex. 79.)




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         The next day, on September 19, 2017, Giant Comms launched a Twitter tirade, tweeting:

         •      “ATTENTION @DHLUS @amazon #PrimeAir @JeffBezos: Check vendors
                @AtlasAirWW & @ATSGinc and ask about required reserve pilots, NOW. #1u
                #FUPM”

         •      “Secret’s out, @AtlasAirWW @ATSGinc @DHLUS & @JeffBezos @amazon!
                Want to capitalize? CBA NOW TO STOP PILOT LOSSES AND
                SHORTAGE.#1u #FUPM”

         •      “@AtlasAirWW at Open Trip 116 on the 19th day of Sept. Two previous months
                were 3/day; NOW, 6 TRIPS/DAY WITHOUT PILOTS! CBA NOW! #1u
                #FUPM”

         •      “Now offering OPEN TIME TRIP 117 . . . we will keep all stations advised
                today.”

         •      “Now offering OPEN TIME TRIP 118 missing TWO pilots. #1u #FUPM”

(Id. ¶ 152, Ex. 4.) Defendants continued their September campaign on September 22, 2017,

tweeting: “Open Time Trip #135 for a pilot needed ASAP! BUSINESSMEN FAILING

DAILY!” (Id.)

                9.      Other Pilots Have Recognized And Communicated To Atlas That
                        Defendants’ Campaign Is An Illegal Slowdown.

         Many Atlas pilots have recognized Defendants’ illegal campaign for exactly what it is

and have complained to Atlas—including about threats of intimidation and harassment of those

who refuse to acquiesce in the illegal activity. (Id. ¶ 153.)

         On May 9, 2016, for example, an Atlas pilot sent the following email to Atlas’ Chief

Pilot:

         Captain Welty, I am sending you this email in response to our conversation
         yesterday. It has become increasingly difficult for me to do my job effectively and
         efficiently with the intimidation and threats from some of my union brothers and
         sisters. I am not sure if you are aware of the “BOOT” program that is being
         promoted by the union. BOOT stands for block out on time. We are being told
         that we should not release the brakes until scheduled block out time even if we are
         ready to leave before. There is also the “SHOP” program (Stop helping out
         Purchase). We are being told that this is going to put pressure on the company to
         negotiate a contract quickly. I not only do not think that this is going to have any


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        effect whatsoever on contract negotiations, but it is keeping me from getting my
        ship, crew and freight on the way as soon as I can. Both Captain’s
        and               are threatening to release names on the Atlas Air GC comms web
        site of those that leave before scheduled block time. Captain                     is
        intimidating crewmembers directly in the DHL facility in CVG with the same
        rhetoric. All I want to do is fly my trips and enjoy my time off. I came here to fly
        airplanes not play games like children in the playground.

(Id., Ex. 80.)17

        A few weeks later, on January 29, 2017, another Atlas pilot sent the following email to

Atlas’ Senior Director Flying, System Chief Pilot: “There is a lot of ignorance going on and it

sucks all the fun out of the job. I wanted to share what was on the plane today when I picked it

up . . . A copy was left in the cockpit and another copy in the right crew bunk magazine holder

. . . Hoping for better times here at Atlas.” (Id. ¶ 154, Ex. 81.) The pilot attached a document

entitled, “THIS IS THE US MASTER PILOT SCABLIST,” which criticized check airmen for

doing their jobs: “Check Airmen are notorious to be greedy and selfish . . . CHECK AIRMEN

IS A VOLUNTEER POSITION.” (Id.) The document encouraged others to “add to the list, so

our Brothers and Sisters know which individuals are ALL IN.” (Id.) The attached list provided

details of pilots who had taken outbase and voluntary assignments with a string of dollar signs

next to their names. (Id.)18

        On February 28, 2017, another Atlas pilot sent the list to a Chief Pilot again. (Id. ¶ 155,

Ex. 82.) This time, the list was dated January 1, 2017, and was a comprehensive list of pilots

who had taken outbase and voluntary assignments for October, November, and December 2016.

(Id.) The list was very detailed and included not only the pilots’ names but what flying they did




17
 Personal identifying information is redacted throughout this document.
18
 CBA Section 25.Q provides that a pilot may “out-base” (i.e., be stationed as a reserve for a
month at the station of Atlas’ choosing). (Carlson Decl. ¶ 154, Ex. 2.)


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and when. (Id.) Again, there were dollar signs next to their names that appear to correspond

with how much work the pilot did. (Id.)

       On June 22, 2017, an Atlas pilot wrote an email to Atlas management about slowdown

instructions that Defendants provided at a recent meeting: “These were your pilots talking about

creat[ing] strikes, shutting down terminals and the intentions of bring in the Teamsters to

intimidate company management. They talked in detail about the plot(s) to break arms, stalk

houses and what all the teamsters would do, to accomplish the goals they wanted . . . The oldest

of the group, talked [in] [d]etail how they could easily shutdown one of your terminals (deluging

with small issues), then they discussed starting a phone list to prevent your company to reach out

and get a pilot for coverage after one calls off.” (Id. ¶ 156, Ex. 83.)

       Pilots also complained to Atlas that other pilots were sending them harassing text

messages and asked the Company to stop the harassment. (Id. ¶ 157.) One pilot received a text

from another pilot of an image of a list of pilots who took outbase and voluntary assignments

with notations besides their names, including “SCAB!” (Id.) The text questioned the pilot’s

willingness to be a team player and comply with the CBA during negotiations. (Id.) The text

also called the pilot a scab. (Id.) The pilot asked for Atlas’ help in offering protection and

anonymity. Similarly, another text provided to Atlas asked why the pilot blocked his schedule

and asked if he was “helping out,” insinuating that the pilot was hiding his schedule from the

Union so he could be a good performer without harassment. (Id.) And certain pilots who

resigned have reported to Atlas in exit interviews that they are leaving in response to pressure

from the Union to slow down. (Id.)




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       E.      Defendants’ Illegal Slowdown Has Irreparably Harmed Atlas, Its Customers,
               And The Public.

               1.      Defendants’ Campaign Has Irreparably Harmed Atlas.

       The pilots’ dramatic changes in behavior directly translate into irreparable harm in the

form of operational disruptions that tarnish Atlas’ reputation in the marketplace and create lost

customer goodwill as well as significant financial costs for the Company. (Id. ¶ 158.) The

primary driver of this harm are operational delays caused by the cumulative effect of all of the

pilots’ tactics, including, as described above, causing statistically significant increases in

extended delays of six hours or more. (Id.; Lee Report ¶ 52.)

                       a.      Atlas Has Incurred Reputational Harm And Loss of Goodwill As A
                               Result Of The Pilots’ Changed Behavior.

       Atlas has built its strong brand and reputation for high quality service over the past 25

years, and its consistent and reliable operation has allowed it to obtain the business of major

customers like Amazon, DHL, FedEx, and UPS. (Carlson Decl. ¶ 159.) Indeed, Atlas’ entire

business is dependent on its reputation for strong performance and reliability. (Id.) And Atlas’

customers are well-aware when their flights are subject to extended delays due to sick or fatigue

calls, or even those short, but highly prevalent “BOOT” delays. (Id.)

       For instance, Atlas offers a “visibility tool” to its customers so they can track their

aircraft. (Id. ¶ 160.) As a result, Atlas’ customers are able to see when their fully-loaded aircraft

are sitting on the tarmac for no reason due to the BOOT campaign, for example. (Id.) As

described in detail above, customers expect and depend on Atlas flights to depart as soon as they

are loaded and ready, and themselves suffer from the lost benefits such prompt departures

provide. (Id.) Because its customers are highly engaged, the deterioration in Atlas’ operational

performance caused by the Atlas pilots’ changed behavior has therefore translated directly into




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unhappy customers and lost customer goodwill, thereby irreparably harming Atlas’ brand and

reputation. (Id.)

        Atlas can suffer from such lost customer goodwill from several different customers as the

result of any single extended flight delay. (Id. ¶ 161.) This is because not only does a significant

extended delay result in missed customer deadlines for the delayed flight, the ripple effects of a

single extended delay can, and often do, last for days and negatively impact multiple customers’

flights and cargo. (Id.) For instance, most Atlas freight planes are configured with four or more

extra seats designated to carry other Atlas crew members who are deadheading to be on location

for their next scheduled duty period. (Id.) A delayed deadhead flight often means that the

deadheading pilots will be late for their next scheduled duty period, causing each of their next

scheduled flights to incur delays (and possibly require the use of replacement pilots) as well.

(Id.) Similarly, a single extended delay can cause that flight’s crew or aircraft to be unable to get

into position for a subsequent flight for the same or a different customer, thereby causing a delay

on that next flight as well. (Id.)

        This ripple effect is seen not only as a result of extended delays, but also as a result of

pilot sick or fatigue calls themselves. (Id. ¶ 162.) As described above, a series of sick or fatigue

calls can result in the depletion of reserve or replacement pilot resources that can last for days,

and impact Atlas’ ability to properly staff subsequent flights that may legitimately need

replacement pilots. (Id.) As a result, even flights that were not directly touched by a pilots’

illegitimate sick or fatigue call can suffer delays as a result of that very sick call. (Id.)

        This lost customer goodwill is difficult if not impossible to replace or to rectify with

monetary compensation and is demonstrated by the near-daily complaints that Atlas receives

from its myriad of customers regarding the decline in operational performance resulting from




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pilots’ change in behavior. (Id. ¶ 163.) For example, on June 27, 2017, after “the 4th event this

week alone with another sick crew member,” a senior representative of one customer

complained: “This latest caper by crews will generate a lot of heat.” (Id., Ex. 84.) He was

forwarding a complaint from a senior representative of the customer that said, “Understand these

things can happen, but have never seen this with such a frequency on any other operator.” (Id.)

       On July 18, 2017, another representative of the customer complained to Atlas after a crew

member refused the planned catering and also the alternative options for catering causing the

aircraft not to depart and forcing the customer to have to charter an aircraft at a cost of $30,000.

(Id. ¶ 164, Ex. 85.) The complaint said: “Due to the cost this created for [the customer],

jeopardy to the [customer’s] (customers) and as this crew members actions are clearly not

customer oriented and appear on the surface to be without merit, I would respectfully request

they be removed from any future [customer] routes if possible.” (Id.) Another senior

representative of the customer copied on the original July 18, 2017 complaint followed-up on the

same day to highlight the $30,000 additional cost incurred by the customer and to complain

about the occurrence of “two other major crew issues.” (Id.) He asked, “The issues with flight

crews continue to increase, when is Atlas planning to take the next steps in regards to flight

crews?” (Id.)

       The very next day, on July 19, 2017, the same customer senior representative again

complained after multiple crews called in fatigued and sick for their flights: “This one is getting

real ugly!!!!! Any guess in regards to this crew situation?” (Id. ¶ 165, Ex. 86.) And the very

next day, on July 20, 2017, as a result of multiple fatigue and sick calls and other crew-related

issues, the customer was forced to take multiple delays, which a senior representative of the




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customer described as “painful.” (Id., Ex. 87.) The same customer senior representative

followed up, stating “not a good day for sure.” (Id.)

        On July 20, 2017, another customer complained about a crew calling in fatigued: “I am

genuinely concerned about the rate at which Atlas pilots call fatigue compared to all other [] air

carriers [serving the customer]. On a flight-normalized basis, Atlas’ rate of fatigue calls is more

than four times higher than other carriers, combined . . . .” (Id. ¶ 166, Ex. 88.) On July 26, 2017,

the same senior customer representative complained about a crew calling in sick, which would

have caused a four-hour delay and “missed package connections and missed customer promise.”

(Id., Ex. 89.) The customer opted to use another carrier “to satisfy customer promise.” (Id.) She

noted: “Atlas has the highest number of fatigue calls (over 5x) versus non-Atlas operated

flights.” (Id.)

        On August 3, 2017, Atlas received a complaint from a senior representative of another

customer about a fatigue call: “It certainly is difficult to understand let alone explain to a

customer why a Captain who has had 51 hours rest and a further 21+06 rest was suddenly

fatigued a short time before scheduled departure and I view the entire delay still with a great deal

of disbelief and a level of discomfort . . . Any level of mitigation that can be put into place to

prevent a repeat situation would be greatly appreciated.” (Id. ¶ 167, Ex. 90.)

        On August 9, 2017, a senior representative of another customer complained that “we had

one sick call and one Fatigue call this morning . . . which delayed [] flexibility . . . as we had to

wait for another crew from the Hotel.” (Id. ¶ 168, Ex. 91.) The very next day, on August 10,

2017, the same senior representative complained, “Another FSF [Full Service Failure], crew

fatigue issue” after all of the freight on an aircraft missed the sort where it was to be distributed

throughout the customers’ network. (Id., Ex. 92.)




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        As a result of the significant delay for another customer due to a fatigue call on August

27, 2017, described above, a manager at the customer wrote, “The lack of customer focus

provided by this operating crew to the [customer] Freight operation is exasperating and more

than disappointing, particularly when our OTP [on time performance] has been challenged by

other ATLAS events in recent weeks. As a follow up we request that the following crew no

longer operate on the [customer] network in the future and be removed from any rotation in our

network as soon as possible.” (Id. ¶ 169, Ex. 93.) Another customer manager complained:

        The delay below is extremely disappointing. The crew fatigue issue was hard for
        us to accept when we were already operating on a significant delay. To make
        matters worse we have a further 6 hour delay due to a crew wake up issue. We
        are now almost 40 hours behind schedule with no sign of recovery. Could you
        please as a matter of urgency look into a recovery option to minimi[ze] this delay.
        We really need to get back on schedule as quickly as possible so we can deliver
        the type of service our customers expect. As you can imagine there are many
        questions being asked here in relation to how this could have occurred and how
        we can get back on schedule.

(Id., Ex. 94.)

        Days later on August 30, 2017, a senior representative of the customer complained to

Atlas’ Executive Vice President and Chief Commercial Officer. (Id. ¶ 170, Ex. 95.) He wrote,

“The team has asked me to raise this directly with you as we’re quite concerned at the number of

crew fatigue delays over the last week. We’ve now had 3 separate crew fatigue delays in the last

week, resulting in one of our lines of flying now being delayed by 47 hours with no ability to

operate on time until mid-next week.” (Id.) As a result, he stated, “[m]any of our customers

have lost confidence in our ability to deliver a consistent service.” (Id.)

        On September 9, 2017, a vice president for a customer complained about a flight delay

due to fatigue call at wakeup that caused an aircraft full of express cargo to miss the daily sort:

“This is a real ugly delay, this is a FSF [Full Service Failure] for Sunday sort . . . .” (Id. ¶ 171,

Ex. 96.)


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       As described in the Lee Report, Atlas competes in the highly competitive and largely

commoditized market for providing outsourced cargo lift, whereby the Company’s customers

can and do source lift from multiple carriers. (Lee Report ¶¶ 6, 72.) If the contracted flight

services provided by Atlas fail to meet customers’ expectations with regards to reliability, the

highly commoditized nature of offering outsourced cargo lift means that these customers can

replace the services of poorly performing carriers with those of other carriers able to offer more

reliable and dependable services. (Id.)

       The risk of lost business is particularly high for Atlas with respect to the U.S. military

because of the structure of its contract. (Carlson Decl. ¶ 172.) Atlas is committed to the Civil

Reserve Air Fleet (CRAF), a military program through which airlines contractually pledge

aircraft for activation when needed in times of war. (Id.) In exchange, the government makes

peacetime Department of Defense airlift business available to Atlas and other airlines. (Id.) But

if Atlas performs below a certain threshold, it could lose its entitlement to such peacetime work

until its performance improves, and that work is given to competitors. (Id.)

                       b.      Atlas Has Incurred Financial Harm As A Result Of The Pilots’
                               Changed Behavior.

       The Atlas pilots’ concerted change in behavior, and in particular, their increase in same-

day pilot sick and overall fatigue calls, has financially damaged Atlas. (Carlson Decl. ¶ 173.)

       Each disruption and delay imposes operational costs on Atlas. (Id.) Often, following a

sick or fatigue call, a replacement pilot must be transported from another location to the

departure station. (Id. ¶ 174.) As a result of increased sick and fatigue calls, Atlas’ costs for

such transportation have increased. (Id.) In many instances, Atlas is able to find a commercial

flight for a replacement pilot, and the volume of commercial flights amounts to a tremendous

cost for the Company that has only increased with the increased number of call outs. (Id.) But



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Atlas also may be forced to charter a plane to transport the pilot to the departure location, if a

commercial solution is not available. (Id.) Any given charter flight can cost up to approximately

$25,000 or more just to transport one pilot. (Id.) Chartering in pilots is of particular importance

for flights going to military zones. (Id.) Atlas must abide by flying curfews in such zones, so if

a pilot calls out sick or fatigued, Atlas has to charter in a new pilot as soon as possible to avoid

missing the curfew. (Id.) Since February 2016, Atlas has paid $123,000 to charter flights for

pilots, which compares to $0 the previous year. (Id.) Of that, $98,000 was for chartering crews

to position them for military operation flying. (Id.)

       Furthermore, as a result of increased same-day sick and overall fatigue calls, coupled

with a decrease in the number of pilots accepting open time flying, Atlas’ operations have not

only declined due to resulting delays, but in an effort to prevent a decline, the Company

increased hiring in anticipation of the 2016 peak season (October-December) at a significant cost

to Atlas. (Id. ¶ 175.) Historically, Atlas plans to staff to accommodate non-peak scheduled

flying with the ability to “flex” up by up to 3% and relies on overtime during peak season to

cover the additional peak flying. (Id.) In 2016, in order to mitigate the adverse effect of the pilot

slowdown and resultant inability to use overtime, rather than to flex up to 3%, Atlas increased its

staffing by approximately 6.9% in an attempt to protect the operation. (Id.) Specifically, in

2016, Atlas hired and trained an additional 60 first officers and upgraded 25 first officers to the

captain position. (Id.) The salaries, wages, and benefits of these pilots alone, taking into account

the corresponding decrease resulting from attrition, cost Atlas over $1.5 million in 2016, and cost

Atlas over $1 million through June 2017. (Id.) In addition, Atlas spent hundreds of thousands of

dollars on recruiting, training, and traveling costs for these new hires and upgrades. (Id.)




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       The pilot slowdown also harms Atlas financially because the Company has had to

compensate its customers for the decline in operations. (Id. ¶ 176.) Many of the Company’s

contracts with its customers require that Atlas perform at a certain level and pay a financial

penalty if it fails to do so. (Id.) These contracts also often include provisions that require

customers to make bonus payments to Atlas if the Company performs better than required. (Id.)

       Pursuant to Atlas’ contracts with one of its major customers, prior to the recent change in

pilot behavior, Atlas was entitled to an incentive payment in most months, but since the pilot

campaign started, Atlas has either been forced to pay a penalty or performed at the minimum

standards required by the contract, resulting in lost incentive payments for the Company. (Id. ¶

177.) Based on Atlas’ performance for one aircraft type for this customer, in the 476-day period

between February 29, 2016 and June 18, 2017, there was an approximately 107.1% net decrease

in incentive payments in contrast to the prior 476-day period between November 10, 2014 and

February 28, 2016.19 (Id.) Likewise, in the 504-day period between February 15, 2016 and July

2, 2017, there was an approximately 87.5% net decrease in incentive payments in contrast to the

prior 504-day period between September 29, 2014 and February 14, 2016. (Id.) Similarly, the

penalty payments made by Atlas to another customer for a particular type of flying has also

increased significantly. (Id.) Specifically, from February to December 2016, Atlas paid 72.8%

more in penalties than during the same time period in 2015. (Id.)

       As a result of poor performance, Atlas also has been compelled to make goodwill

payments to certain customers. (Id. ¶ 178.) For example, in March 2017, Atlas made a

significant goodwill payment to one customer, after a series of crew related delays. (Id.) One




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   For the 28 days from November 10, 2014 through December 7, 2014, the incentive/penalty
structure was inapplicable. (Carlson Decl. ¶ 177.)


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such flight was a “live stock charter” in which the animals that were on the aircraft had to be put

back into quarantine at the customer’s cost. (Id.)

                2.      Defendants’ Campaign Has Harmed Atlas’ Customers.

        The pilots’ campaign and resulting decline in Atlas’ operations has harmed its customers.

                        a.      The United States Military

        Atlas is the largest carrier of cargo and passengers for the U.S. military. (Id. ¶ 179.)

Delays of Atlas’ flights for the military can be disruptive to military operations, and as a result,

the pilots, at the direction of Defendants, are intentionally disrupting such flights to inflict

maximum harm. (Id.) Pilot actions have prevented service members from coming home to their

families on time and have also delayed flights carrying troops and urgently-needed medical

supplies and other critical provisions into the battlefields. (Id.) These actions are detrimental to

the missions of the U.S. military and place the lives of our troops at risk. (Id.)

        For example, as described in part above, in April 2017, crew actions (including multiple

fatigue calls and maintenance write-ups) caused an aircraft flying approximately 120 service

members home to their families in the United States to experience three consecutive delays of

over 60 hours on each leg of a trip from Kuwait to Germany to New Hampshire to Texas. (Id.)

        The impact on the service members and their families of this incident can only be

described by the families themselves. (Id. ¶ 180.) Atlas received dozens of written complaints

from families, a number of which are reproduced below. (Id.)

        My husband is a Blackhawk helicopter Pilot with the South Carolina Air National
        Guard. His unit has been deployed in the Middle East for       and “should” be
        home with our       young children as I write this. However, due to the internal
        politics of Atlas Airlines, he, along with 120 SC Guardsmen and women are
        currently stranded in Portsmouth, NH. Before that, they were previously
        “stranded” in Germany for 36 hours as well. Apparently the Atlas Airline pilots
        were holding an “unofficial” strike, and continue to do so at each airport,
        forcing the service men and women to camp out for several days at a time in the
        terminals. They have been sleeping on the floor and cots and should be on their


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       for his return, which is now being held up by Atlas Air. This day could be listed
       as one of the most emotionally draining since his leave. We have waited
       anxiously and with worry about their overall safety, and for details on their arrival
       to the states. I am so disappointed that an airline would make my husband, who
       has just served our country away from his children for so long, feel worthless and
       unimportant. I am disappointed that there have not been more positive actions
       taken to resolve this issue. I understand you do not have control over your
       employees, but if your employees are treated like my husband has been today I
       might not want to show up to work either. Please hear me in saying I do not mean
       this email to be a personal issue with you, but I’m hoping it will be read & relayed
       to the appropriate party and resolved for the next group of soldiers who are weary
       and ready to be home to their families.

                                                   ***

       You are an AMERICAN Contractor and it is your duty to get OUR American
       SOLIDERS home safely and ONTIME. This is absolutely absurd they defend
       OUR COUNTRY and YOUR FREEDOM in overseas wars or missions and your
       duty is to get them home in a timely manner. AND YOU DID NOT DO THAT
       these past 5 DAYS!!!!!!!! What was supposed to be a day and half of travel now
       has turned into a week.

       My husband and his unit have been held over many days overseas and now
       stateside and trying to get home to their families after being gone for
              !!!

       These soldiers give up a lot including their spouses, children, and families. They
       give up every birthday, anniversaries, and HOLIDAYS so you can have your
       everyday FREEDOMS. And you do not have the decency to ensure you have
       proper aircraft to carry OUR AMERCIAN SOLIDER back home to their families
       nor do you have the staff that is not willing to set aside their differences (union
       negations) and call in sick to make sure OUR AMERICAN SOLIDERS CAN
       GET HOME TO THEIR FAMILIES IN A TIMELY MANNER!!!!!

       I have called and left many messages with no return phone calls –NOT very good
       customer service!!!! And many of the wives have called and still no responses
       back to them either.

       We are already in contact with DOD about your current contract. We (the wives)
       have started contracting all the news stations about your poor services and lack of
       customer service.

(Id., Ex. 97 (bold and italics emphasis added).)

       Such a delay not only causes profound emotional suffering to families, as evident from

their messages, but also impacts them financially because they travel to meet their returning



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service members. (Id. ¶ 181.) As a result of this incident, the families of these service members

complained to Congress about Atlas’ contract with the military. (Id.) As a small gesture of its

regrets about this shameful situation, Atlas offered each service member $500 and paid any out

of pocket expenses incurred by the service members as a result of the delay. (Id.)

                       b.      Atlas’ Other Customers

       More than two thirds of Atlas’ aircraft serve the Company’s express and e-commerce

customers, and these customers are in the business of providing reliable, express delivery

services to their own customers. (Id. ¶ 182.) The decline in Atlas’ performance has also

damaged the operations of its customers, thereby harming their brands and reputations as well—

as evidenced by the customer complaints detailed above. (Id.)

       Furthermore, because customers like DHL have commitments to deliver packages to their

customers on time, they have been forced by crew delays to hire another cargo carrier (one of

Atlas’ competitors), at their own expense of tens of thousands of dollars each time, in order to

obtain an aircraft and a crew to move their packages. (Id. ¶ 183.)

       The change in pilot behavior and resulting lengthy delays has also negatively impacted

the operating flexibility of Atlas and its customers. (Id. ¶ 184.) For example, when an aircraft

carrying freight is delayed such that it does not make the package sort at the customer’s

distribution center in a timely fashion, the freight will be delayed a full day until the next sort.

(Id.) Thus, even a short delay can cause a full service failure on the part of Atlas’ customers,

which then impacts thousands of customers on the back end, and the magnitude of this

operational disruption is compounded with each aircraft that is delayed by the pilots. (Id.) For

example, a B-747 aircraft carries between 80 and 100 tons of express parcel, and thus tens of

thousands of customers are impacted when an aircraft misses the sort. (Id.)




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               3.      Defendants’ Campaign Has Harmed The Public.

       Atlas transports many time-sensitive items, including medications, pharmaceutical and

medical supplies, lab shipments, human organs, emergency equipment, legal documents, and

items necessary for scheduled events, such as conferences, weddings, and funerals. (Id. ¶ 185.)

Customers use, and pay a premium price for, express carriers because they need quick service

often on an urgent basis, and when items arrive late there can be significant consequences. (Id.)

Potentially hundreds of thousands of these end-use customers—members of the general public—

have been damaged by the pilots’ slowdown behavior because, unlike at a passenger carrier, the

delay from even a single strategically-placed sick or fatigue call can impact a substantial portion

of Atlas’ network and thousands of end-customers who rely on express shipments—and not just

the several hundred passengers whose flight is delayed or who need to be re-routed when a pilot

calls out on a passenger carrier. (Id.)

       In addition, the harm to the U.S. military caused by the pilot slowdown equates to harm

to the public by placing our national interests and security at risk. (Id. ¶ 186.) Pilot actions have

caused our troops to arrive late to battle and without the critical supplies they need, putting their

lives and missions in jeopardy. (Id.) Furthermore, unnecessary delays in returning our troops

home to their families, particularly after lengthy tours in the Middle East and throughout the

world, is a catastrophe that is inconsistent with our nation’s goal of supporting those who serve

our country. (Id.)

       F.      Atlas Has Attempted To Resolve This Dispute Without Judicial Intervention.

       Atlas has attempted to convince Defendants to stop their slowdown campaign and abide

by their statutory obligations. For instance, during the December 2016 sickout, Atlas sent a letter

on December 19, 2016, to Defendants informing them that the pilots’ increased use of sick leave

and the refusal of crew members to volunteer for and accept open time flying in the ordinary


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course were a violation of the RLA and requesting that they take immediate actions to stop the

slowdown. (Id. ¶ 187, Ex. 36.) In response, Defendants sent a letter, dated December 21, 2016,

denying that they were engaged in an illegal slowdown, accusing Atlas of “posturing, bombast

and bluster,” and failing to provide any assurances that Defendants would take any action to stop

the pilot slowdown. (Id., Ex. 37.) Instead, in their letter, Defendants continued to perpetuate the

untrue allegation that Atlas has a problem with “attrition, scheduling, and staffing . . . .” (Id.)

       On at least two occasions during the summer of 2017, a senior executive of Atlas also

communicated to Defendants that pilots were intentionally delaying military flights and

requested that Defendants take action to stop such improper actions. (Id. ¶ 188.) In addition, in

June 2017, in the Protocol Agreement, the parties agreed to “conduct all negotiations based on

mutual respect and trust.” (Id. ¶ 189.) Atlas specifically requested this provision, and conveyed

to Defendants that it must be included in the Protocol Agreement because the Atlas pilots’

concerted activities were unacceptable and the Union had an obligation to return the operations

to the status quo. (Id.) In that regard, on June 9, 2017, counsel for Atlas informed counsel for

the Union that Atlas knew that pilots were engaged in a slowdown and that Atlas expected the

slowdown to stop as the parties negotiated for a joint CBA. (Declaration of Jerrold A. Glass ¶

6.) Atlas asked that the Union’s counsel so inform the Union, and the Union’s counsel indicated

that they would do so. (Id.)

                                           ARGUMENT

       The attempt by Defendants and the pilots to put pressure on Atlas in ongoing contract

negotiations by disrupting Atlas’ normal operations is a blatant violation of their status quo

obligations under Section 2, First, of the RLA. See, e.g., United Air Lines, Inc. v. Air Line Pilots

Ass’n, Int’l, 563 F.3d 257 (7th Cir. 2009) (“UAL v. ALPA II”); Delta Air Lines, Inc. v. Air Line

Pilots Ass’n, Int’l, 238 F.3d 1300 (11th Cir. 2001); United Air Lines v. Int’l Ass’n of Machinists


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& Aerospace Workers, 243 F.3d 349 (7th Cir. 2001) (“UAL v. IAM”); Spirit Airlines, Inc. v. Air

Line Pilots Ass’n, Int’l, 2017 WL 2271500 (S.D. Fla. May 9, 2017); US Airways, Inc. v. US

Airline Pilot Ass’n, 813 F. Supp. 2d 710 (W.D.N.C. 2011). These cases all arise in the identical

context as here—a union and its members attempting to put pressure on an airline in order to

gain leverage in contract negotiations by disrupting operations—and all expressly confirm that in

this situation, the RLA status quo requirement has been violated and an injunction must issue.

       A.      Defendants’ Concerted Activity Violates Their Obligations Under Section 2,
               First, Of The RLA.

       The principal purpose of Congress in enacting the RLA was to prevent strikes or other

interruptions to the nation’s transportation systems. 45 U.S.C. § 151a; Tex. & New Orleans R.R.

Co. v. Bhd. of Ry. & S.S. Clerks, 281 U.S. 548, 565 (1930). To this end, Section 2, First, which

the Supreme Court has described as “[t]he heart of the Railway Labor Act,” Bhd. of R.R.

Trainmen v. Jacksonville Terminal Co., 394 U.S. 369, 377 (1969), provides that “[i]t shall be the

duty of all carriers, their officers, agents, and employees to exert every reasonable effort to make

and maintain agreements concerning rates of pay, rules, and working conditions . . . in order to

avoid any interruption to commerce or to the operation of any carrier growing out of any dispute

between the carrier and the employees thereof.” 45 U.S.C. § 152, First; see also Detroit &

Toledo Shore Line R.R v. United Transp. Union, 396 U.S. 142, 151 (1969) (describing Section 2,

First’s obligation “‘to exert every reasonable effort’ to settle disputes without interruption to

interstate Commerce” as an “implicit status quote requirement.”). And the duty to make and

maintain agreements without interruption to the carrier’s operations, i.e., to maintain the status

quo, is not “a mere statement of policy or exhortation to the parties.” See Chi. & N.W. Ry. Co. v.

United Transp. Union, 402 U.S. 570, 577 (1971). It is an affirmative legal obligation that applies

equally to individual members of the union as to the union itself, see Delta Air Lines, 238 F.3d at



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1308-09 n.19, and is enforceable by injunction, without regard to the Norris-La Guardia Act, 29

U.S.C. § 101 et seq. See Chi. & N.W. Ry., 402 U.S. at 581. During negotiation of a CBA (which

is ongoing, here), the parties are obligated to maintain the status quo. See, e.g., UAL v. IAM, 243

F.3d at 362; United Air Lines, Inc. v. Air Line Pilots Ass’n, Int’l, 2008 WL 4936847 at *38 (N.D.

Ill. Nov. 17, 2008) (“UAL v. ALPA I”), aff’d 563 F.3d 257 (7th Cir. 2009).

          The RLA’s status quo obligations require the parties “to preserve and maintain

unchanged those actual, objective working conditions and practices, broadly conceived, which

were in effect prior to the time the pending dispute arose.” Detroit & Toledo Shore Line R.R.,

396 U.S. at 153 (emphasis added). As such, even if certain changed behavior is permitted by the

parties’ CBA when engaged in on an individual basis, it is a violation of Section 2, First of the

RLA to engage in such behavior on a concerted basis when doing so constitutes a change to past

practice. See id. at 153-54; Allied Pilots Ass’n. v. Am. Airlines, Inc., 643 F. Supp. 2d 123, 127-

32 (D.D.C. 2009) (relying on the conclusion of “numerous other courts[,] that . . . voluntary open

time avoidance campaigns . . . violate the RLA.”); Delta Air Lines, 238 F.3d at 1307-09 (“We

reject ALPA’s contention that the CBA ‘arguably’ allows all pilots to refuse to work overtime

when it is clear industry practice to structure flight schedules with ‘open time’ built in . . . . [A]n

expectation that not all of the pilots will choose to refrain from working overtime at the same

time . . . is implicit in the CBA.”) (second emphasis added); UAL v. ALPA I, 2008 WL 4936847

at *40 (N.D. Ill. Nov. 17, 2008) (“Section 2, First prohibits employees from engaging in

concerted action to put economic pressure on the carrier even where the employees have a right

under the existing collective bargaining agreement to take the action in question.”) (emphasis

added).




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       Accordingly under Section 2, First, courts are authorized to “enjoin not only strikes but

also ‘union conduct . . . which has the consequences of a strike,’ such as refusal of overtime,

slowdowns and sit-ins,” even where the individual employees have a right under the existing

collective bargaining agreement to take the action, or refuse the duty, in question. UAL v. IAM,

243 F.3d at 362 (quoting Air Line Pilots Ass’n Int’l v. United Air Lines, Inc., 802 F.2d 886, 906

(7th Cir. 1986)).20 And federal courts have routinely invoked this principle to enjoin slowdowns.

See, e.g., Allied Pilots Ass’n, 643 F. Supp. 2d at 127-28; UAL v. IAM, 243 F.3d at 361; Spirit

Airlines, 2017 WL 2271500 ; US Airways, 813 F. Supp. 2d 710; UAL v. ALPA I, 2008 WL

4936847; Nw. Airlines, Inc. v. Local 2000, Int’l Bhd. of Teamsters, No. 00-08, slip op. (D. Minn.

Jan. 5, 2000); Am. Airlines, Inc. v. Allied Pilots Ass’n, 53 F. Supp. 2d 909 (N.D. Tex. 1999);

Long Island R.R. Co. v. Sys. Fed’n No. 156, 368 F.2d 50 (2d Cir. 1966); Tex. Int’l Airlines, Inc.

v. Air Line Pilots Ass’n Int’l, 518 F. Supp. 203 (S.D. Tex. 1981).21




20
   Even if Defendants claimed that there was a contractual justification for the concerted refusal
to accept overtime flying, for example, an injunction prohibiting any alteration of the status quo
would still be appropriate. See Long Island R.R. Co. v. Int’l Ass’n of Machinists, 874 F.2d 901,
908-09 (2nd Cir. 1989) (union may not exercise self-help in a minor dispute even where its right
to engage in the conduct in question raises an issue of contractual interpretation).
21
   In ABX Air, Inc. v. Airline Professionals Association of the International Brotherhood of
Teamsters, Local Union No. 1224, 266 F.3d 392 (6th Cir. 2001), the pilots engaged in a
concerted refusal to accept overtime flying in order to pressure the carrier to resolve a dispute
regarding the interpretation of scheduling provisions in the CBA. Id. at 394. The carrier sought
an injunction against an alleged “illegal strike in aid of a minor dispute” in violation of the RLA.
Id. at 395. The court denied the injunction on the grounds that there was no “concerted
interruption of operations” but rather only “higher operational costs incurred by the necessary
exercise of contract provisions.” Id. at 398. In doing so, the court distinguished cases that
enjoined illegal slowdowns over the negotiation of CBAs, noting that “those cases involved a
major dispute, during which a union is required to maintain the status quo.” Id. Here, unlike in
the ABX case, Defendants’ slowdown is over a major dispute—the formation of a new CBA—
and is thus an illegal violation of the status quo requirement of the RLA.



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               1.     Defendants And Their Pilot Members Have Violated Their Status Quo
                      Obligations By Instigating And Participating In Slowdown Activities.

       The evidence establishes that Defendants have been engaged in a campaign to gain

leverage in collective bargaining negotiations through unlawful changes in the status quo. The

“All In” campaign initiated by Defendants has grown in intensity since February 2016, and has

encouraged pilots to engage in concerted activities designed to slow down and disrupt normal

operations and therefore force Atlas into contract concessions. Defendants have not tried to hide

their intentions—they have been clear that the goal of encouraging pilots to take the actions

described above is to obtain leverage in collective bargaining negotiations:

       •       “So always be safe. Don’t fly or train fatigued. Remember . . . it’s your CBA.
               They signed it. You use it.”

       •       “Are you going to continue to sell your talents for a quick buck, or are you going
               to stop doing the Company favors and follow the CBA to the letter and give your
               EXCO and Negotiation Committee the leverage and power they need today?”

       •       “What is SHOPing, you say? Well, it stands for Stop Helping Out Purchase. And
               when we do this one thing, requiring some judgment on your part, and strictly
               following the CBA, it emphasizes to management how important and valuable a
               well compensated and highly motivated crew force can be to enhancing their
               operations and customer satisfaction.”

       •       “we’re asking everybody -- your EXCO is asking you to not block out early, ever,
               period. Period, ever.”

       •       “Atlas’ customers will not be happy if the planes stop flying. . . . All we have to
               do is follow the CBA, shop, and boot. And that’s what your Union asks of you.”

       •       “Time will tell, but we are in for a long fight for a fair contract. But believe me, it
               will be worth it. Very worth it, indeed. Your EXCO also wishes to remind you
               that your adherence to the CBA and all the things each and every one of you are
               doing daily are having a tremendous affect and it’s working.”

       •       “I am not going to volunteer my time to help the Company until we have a signed
               CBA that helps me and all of us.” (statement of Atlas ExCo Chairman)

       •       “You are not required to bid or accept open time flying or VX. You are not
               required to answer your phone when on days off. You are not required to answer
               your phone when on vacation . . . . We have learned that following the CBA is a


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               simple and extremely effective way to give our Union all the leverage it needs to
               score points during talks and negotiations with Purchase.”

       •       “PRIOR TO BLOCKING OUT, ensure that the meals are contract compliant.
               Those who operate long legs and long duty days without proper nourishment or
               sufficient caloric intake, are potentially subject to low blood sugar levels, a
               recognized cause of pilot fatigue . . .”

       •       “That’s where you, choosing as an individual to act as a group of individuals
               moving as one to create solidarity that gives your Union, our Union, the leverage
               it needs to go up against these people to either force their hand to do the right
               things, or to negotiate the right thing if they ever get in the mood to negotiate. So
               it’s time to redouble our efforts as individuals . . . By following your contract, by
               doing what you’re scheduled to do these things will make us successful and bring
               us victory at the end of this road.”

       •       “I’m not even going to go into the favors some of you out there continue to do to
               make a buck now instead of pulling on the rope with the rest of us to make even
               better money tomorrow via a new and industry standard CBA . . . The group that
               votes to follow the CBA and not their individual wallets is a good one.”

       •       “Remember, your union stands behind you and we are your line of defense
               against any sort of harassment or intimidation relating to fatigue or any other
               issue. Do not endanger your life, the life of your fellow crew members or the
               public by allowing the company to push you into flying fatigued. . . . Always -
               ALL IN.”

       •       “Atlas Executives believe that if they delay a new CBA long enough, you will
               lose your interest and your resolve and start violating the CBA, cutting corners
               and resign yourselves to the status quo and abandon our quest for an industry-
               leading CBA. This cannot be allowed to be the case! YOU must SHOP, BOOT
               and push back on their tactics harder than ever as we are starting to get the
               movement we desire. We are getting into the busy season during the second half
               of the year and it is now more important than ever to stay strong with your
               SOLIDARITY. YOU must not only honor the CBA every day and on every
               flight, but also hold management accountable.”

(Carlson Decl. ¶ 48, Ex. 7; ¶ 49, Ex. 8; ¶ 55, Ex. 12; ¶ 57, Ex. 14; ¶ 61, Ex. 16; ¶ 66, Ex. 21; ¶

73, Ex. 28; ¶ 76, Ex. 30; ¶ 93, Ex. 43; ¶ 103, Ex. 50; ¶ 113, Ex. 58; ¶ 115, Ex. 59; ¶ 119, Ex. 63.)

       These communications, and countless others, are clear: pilots must engage in concerted

activity to disrupt the status quo in order to gain leverage in negotiations. See UAL v. ALPA II,

563 F.3d at 266-67, 272-73 (letter to pilots intended “to foster indignation and animosity towards



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United, and to encourage the pilots to engage in more widespread job actions” constituted

evidence that the union encouraged an unlawful sick out); US Airways, 813 F. Supp. 2d at 722

(union communication stating “The operational safety guidance is simply this: Don’t fly

fatigued! If you are a reserve pilot, don’t accept a trip if you are fatigued” encouraged pilots to

call off their flights).

        Moreover, federal courts have recognized the use of code words in coordinating illegal

slowdowns. See, e.g., UAL v. ALPA II, 563 F.3d at 272 (“Phrases such as ‘work safe,’ ‘work by

the book,’ ‘adhere to strict contractual requirements,’ ‘not to neglect even the most minor write

ups,’ ‘check every item on the checklists,’ [are] all recognized as coded signals to engage in a

slowdown.”). Here, Defendants have been using the terms “All In,” “SHOP,” “BOOT,” and

“It’s your CBA. They signed it. You use it” in their numerous communications to pilots. By

telling pilots to strictly adhere to the contract, SHOP and BOOT, and be “All In,” the Union has

been telling pilots to unlawfully alter the status quo. Numerous decisions have recognized “work

to rule” pronouncements by unions, like “honor the CBA” or SHOP, as code for an unlawful

change in the status quo. And for good reason—SHOP is telling pilots to stop, and therefore

change, their behavior. Those decisions have held that even if the CBA permits individual pilots

to decline open time flying or declare themselves too sick or fatigued for a flight, they may not

exercise this right on a concerted basis in a manner that is different from their past status quo

behavior. See, e.g., id.; UAL v. IAM, 243 F.3d at 366; US Airways, 813 F. Supp. 2d at 732.

        And as set forth above, Defendants’ communications have been effective. The

overwhelming statistical and anecdotal evidence demonstrates beyond dispute that Atlas’ pilots

are engaged in an illegal slowdown. The fact that the December 2016 B-767 sickout occurred

during the busy holiday period, and that Defendants are encouraging such peak time disruptions




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again in 2017—now that Atlas is “into the busy season during the second half of the year”—

further demonstrates that the current slowdown activity is concerted and designed to influence

Atlas in collective bargaining. In the Delta Airlines case, pilots similarly engaged in a concerted

refusal to work overtime during the holiday travel season, and the Eleventh Circuit concluded

that the timing of the change in behavior made it clear that it was designed to leverage collective

bargaining. The Court ruled that “[t]his action by the pilots, viewed in the context of the holiday

travel season and the ongoing labor negotiations between ALPA and Delta, leads to the obvious

inference that the pilots are seeking to pressure Delta into making concessions in the negotiations

for a new CBA.” 238 F.3d at 1303. This principle applies here. Defendants and its members

have blatantly violated the status quo in an effort to advance their position in collective

bargaining and, in so doing, have acted contrary to “[t]he heart of the Railway Labor Act.” See

Jacksonville Terminal Co., 394 U.S. at 377-78.

               2.      Defendants Have Violated The RLA’s Status Quo Obligations By Failing
                       To Make Every Reasonable Effort To Prevent And Discourage The
                       Slowdown.

       Even if a union does not directly instigate or encourage a slowdown, it “is statutorily

bound to do everything possible to ‘maintain’ the CBA so that commerce is not in any way

interrupted.” Delta Air Lines, 238 F.3d at 1310 & n.22 (“The duty of ALPA under the RLA is

sufficiently high that even if it has not sponsored or ratified the unlawful job action by the pilots,

it has a duty to end such unlawful action”). Similarly, in UAL v. ALPA II, the court issued

injunctive relief because, even assuming the union had not played a role in instigating the

slowdown, the record made clear that the union did not “exert every reasonable effort” to stop

the slowdown. 563 F.3d at 268.

       In addition to starting this slowdown, Defendants have violated the RLA by failing to

stop it. There is no evidence that Defendants have exerted any effort, much less “every


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reasonable effort,” to discourage pilots from engaging in the slowdown. Indeed, in response to

one of Atlas’ letters demanding that Defendants comply with their status quo obligations,

Defendants asserted that the allegations were “an unfair and desperate effort to convince Atlas’

customers that the pilots are to blame for Atlas’ attrition, scheduling, and staffing . . . . [which]

problems are entirely and exclusively of Atlas’ own making.” (Carlson Decl. ¶ 86, Ex. 37.) In

recent months in 2017, when Atlas has asked the union to bring about a return to the status quo,

not only has Atlas seen no attempt by the Union to do so, it has seen no decrease, but rather a

continued pursuit of further concerted pilot activity. (Id. ¶ 189.) Any efforts that Defendants

have made to cover their tracks in communications advocating against illegal activity—and there

are very few—are wholly insufficient to comply with their obligations—as confirmed by the fact

that the slowdown continues unabated. See Delta Air Lines, 238 F.3d at 1310-11; UAL v. ALPA

I, 2008 WL 4936847, at *33-35.

       Thus, a preliminary injunction should be issued to force Defendants to undertake the

efforts that they are required to take under the RLA in order to stop their members from

engaging in illegal activity. See UAL v. IAM, 243 F.3d at 363 (“Once a court determines that

such a concerted work action is occurring in violation of the RLA, an injunction can issue

ordering the union to observe its statutory duty by trying to stop it.”); see also Delta Air Lines,

238 F.3d at 1309.

       B.      This Court Should Issue A Preliminary Injunction Prohibiting Defendants’
               Unlawful Conduct And Compelling Defendants To Make Every Reasonable
               Effort To Stop The Work Action.

       To obtain a preliminary injunction in the D.C. Circuit, the Court must determine

whether: (1) there would be irreparable harm in the absence of the injunction; (2) the moving

party has a substantial likelihood of success on the merits; (3) an injunction would substantially

injure other interested parties; and (4) granting the injunction would further public interest. See


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Sottera, Inc. v. Food & Drug Admin., 627 F.3d 891, 893 (D.C. Cir. 2010); Ark. Dairy Coop.

Ass’n, Inc. v. United States Dep’t of Agric., 573 F.3d 815, 821 (D.C. Cir. 2009); Davenport v.

Int’l Bhd. of Teamsters, 166 F.3d 356, 360 (D.C. Cir. 1999); Alton & S. Ry. Co. v. Bhd. of Maint.

of Way Emps., 883 F. Supp. 755, 764 (D.D.C. 1995) (citing Wash. Metro. Area Transit Comm’n

v. Holiday Tours Inc., 559 F.2d 841, 843 (D.C. Cir. 1977)); Int’l Ass’n of Machinists &

Aerospace Workers v. Nat’l Ry. Labor Conference, 310 F. Supp. 905, 910 (D.D.C. 1970). For

the reasons set forth above, Atlas has demonstrated that it is likely to succeed on the merits. And

for the reasons set forth below, Atlas has made more than the necessary showing on the other

factors.

                  1.     No Showing Of Irreparable Injury Is Required To Obtain A Preliminary
                         Injunction Against A Status Quo Violation Under The RLA.

           In Consolidated Rail Corp. v. Railway Labor Executives’ Association, the Supreme Court

held that “[t]he district courts have subject-matter jurisdiction to enjoin a violation of the status

quo pending completion of the required procedures, without the customary showing of

irreparable injury.” 491 U.S. 299, 303 (1989) (emphasis added); see also S. Ry. Co. v. Bhd. of

Locomotive Firemen & Enginemen, 337 F.2d 127, 133 (D.C. Cir. 1964) (finding “a showing of

irreparable injury [was] not required before the [then] instant status quo injunction may issue”);

UAL v. IAM, 243 F.3d at 362-64 (directing the district court to issue a preliminary injunction

without any consideration of whether United had shown irreparable injury and rejecting the

IAM’s argument that the district court properly denied an injunction on the grounds that United

could deal with the slowdown by disciplining the individuals involved); US Airways, 813 F.

Supp. 2d at 736 (holding that a showing or irreparable injury is not required under Section 2,

First); UAL v. ALPA I, 2008 WL 4936847, at *45. Thus, upon a showing that a union or its

members have altered the status quo, a preliminary injunction should issue as a matter of course.



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               2.      Even If A Showing Of Irreparable Injury Were Necessary, Atlas Has
                       Suffered, And Will Continue To Suffer, Irreparable Injury As A Result Of
                       Defendants’ Illegal Slowdown.

       Even assuming for the sake of argument that a showing of irreparable injury were

required, that showing is easily met here. The pilot slowdown has caused Atlas tremendous

financial harm and the loss of customer goodwill and will continue to do so unless the conduct is

enjoined. See Wesley-Jessen Div. of Schering Corp. v. Bausch & Lomb Inc., 698 F.2d 862, 867

(7th Cir. 1983) (continuing financial harm sufficient to justify preliminary injunction); Del. &

Hudson Ry. Co. v. United Transp. Union, 450 F.2d 603, 613 (D.C. Cir. 1971) (recognizing that

harm results from customers who are forced to arrange other methods of transportation because

they often do not resume using the struck railroad); Nat’l R.R. Passenger Corp. v. Int’l Ass’n of

Machinists & Aerospace Workers, 1987 WL 18469, at *1-2 (D.D.C. 1987) (issuing preliminary

injunction where Amtrak would “suffer a substantial loss of revenue, as well as the loss of public

goodwill which it can never recover”).

                       a.     Defendants’ Slowdown Has Cost Atlas Customer Goodwill.

       While Atlas has experienced—and will continue to experience—financial harm as a

result of the Defendants’ illegal slowdown, it is impossible to overestimate the harm it will

continue to experience in its relationships with its customers, unless the slowdown is enjoined.

This harm will be exacerbated if Atlas is unable to deliver on its promises during the crucial peak

holiday season. Atlas already has received numerous complaints from its customers detailing

their astonishment at the number of crew members that call in sick or fatigued and questioning

their commitment to customer service. (Carlson Decl. ¶¶ 163-71.) Incredibly, Atlas has

received many emails from its customers requesting that certain crews never fly for them again

and chiding the Company for making it spend, for example, an extra $30,000 to charter a




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separate aircraft because an Atlas pilot refused to fly due to a catering issue. (Id. ¶ 164.) Atlas is

nothing without its name and reputation, neither of which can be remedied or valued monetarily.

                       b.      Defendants’ Slowdown Is Causing Atlas Significant Financial
                               Harm.

       The myriad of slowdown techniques employed by Defendants has resulted in the loss of

millions of dollars. For example, the drastic increase in fatigue and same-day sick calls has

resulted in Atlas having to charter planes to transport pilots to departure locations. (Carlson

Decl. ¶ 174.) Indeed, since February 2016, Atlas has paid $123,000 to charter flights for pilots,

compared to $0 the previous year. (Id.) Similarly, to deal with the crew shortages due to the

increase in fatigue and sick calls, Atlas has been forced to hire an additional 60 first officers and

upgrade 25 first officers to captain, costing Atlas several million dollars in wages and benefits,

during 2016 and 2017, taking into account the corresponding decrease resulting from attrition,

not to mention the hundreds of thousands of dollars Atlas had to spend on recruiting, training,

and traveling costs for these new hires and upgrades. (Id. ¶ 175.) Atlas also has penalty and

incentive clauses built into contracts with customers and has lost millions of dollars in penalty

payments and lost incentive payments due to underperformance. (Id. ¶¶ 176-78.)

               3.      A Preliminary Injunction Will Further The Public Interest.

       The interests of the public demand that Defendants’ illegal self-help actions be enjoined.

See Allied Pilots Ass’n, 643 F. Supp. 2d at 129 (issuing a preliminary injunction, in part, because

“any disruptions to American’s operations would ultimately burden the American public”).

Indeed, when considering whether to issue a preliminary injunction both the effect on Atlas and

the effect on the public should be considered. See Del. & Hudson Ry. Co., 450 F.2d at 619; Nat’l

R.R. Passenger Corp. v. United Transp. Union, 832 F. Supp. 7, 11 (D.D.C. 1993) (continuing to

enjoin the union’s slow-down efforts because otherwise “Amtrak and the general public [would]



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suffer immediate, substantial, and irreparable injury if UTU engages in self-help in violation of

the Railway Labor Act”); Nat’l R.R. Passenger Corp. v. Am. Fed’n of R.R. Police, Inc., 613 F.

Supp. 602, 606 (D.D.C. 1985) (finding that without a permanent injunction, the slowdown would

“caus[e] immediate and irreparable injury, loss and damage, in the way of cancelled and delayed

railroad service, to both Amtrak and the traveling public”).

       Atlas carries cargo that is time sensitive and critical to its recipients. Military personnel,

who already operate under difficult circumstances, will be late in arriving into battle and

receiving urgently needed supplies, and other consumers who have urgent needs will not receive

their medication or other essential materials. Similarly, businesses could be without necessary

supplies to meet the requirements of their customers. And if this illegal campaign is not enjoined

before the holiday season, the harm to the public will only be worse. At the very least, families

throughout the country will be disappointed on Christmas morning and during Chanukah

celebrations because the pilots at Atlas unlawfully refused to fly airplanes. The impact on the

public of a disruption to commerce is boundless and requires the issuance of injunctive relief.

               4.      The Defendants Will Suffer No Irreparable Harm If The Preliminary
                       Injunction Is Issued.

       A preliminary injunction requiring Defendants and their members to refrain from

violating the status quo, and to exert all reasonable efforts to discourage the slowdown, imposes

no legally cognizable harm whatsoever because it merely requires them to satisfy their existing,

and indisputable, legal obligations under the RLA. See UAL v. ALPA I, 2008 WL 4936847, at

*46 (injunction “merely requires them to satisfy their existing legal obligations under the RLA”);

US Airways, 813 F. Supp. 2d at 733 (“USAPA will not experience any legitimate hardship as a

result of being enjoined from violating the law.”); Nw. Airlines, Inc., slip op. at 9 (injunction

“would simply prohibit the Defendants from engaging in illegal activity”).



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       The relief sought in no way interferes with an individual pilot’s discretion. Atlas’ pilots

are highly trained professionals and do not need to be told that they should not fly sick or

fatigued—they know that. When Defendants repeatedly tell them not to do so—particularly

where, as here, they do so in the context of discussing collective bargaining negotiations—pilots

understand that what Defendants really mean is that pilots should slow down the operation.

Thus, any argument that safety would be impaired by ordering pilots to resume their normal

operations is without merit. US Airways, 813 F. Supp. 2d at 736-37 (issuance of injunction

“would only require [the union] to satisfy its existing legal duty under the RLA” and does not

“interfere with the duty of pilots in command to ensure the safety of their passengers and

equipment”). Defendants simply have no protectable interest in encouraging an illegal

slowdown or allowing it to continue in violation of the RLA.

       C.      This Action To Enjoin Defendants’ Ongoing Illegal Slowdown Campaign Is
               Timely.

       Defendants’ illegal slowdown campaign started in February 2016 and has continued to

the present day. All such conduct is part of Defendants’ “multi-faceted and ongoing slowdown

campaign,” a pattern of illegal conduct that effectively ended the status quo period in February

2016 and continued into the six-month statute of limitations period applicable here. See UAL v.

ALPA II, 563 F.3d at 269. Accordingly, Atlas’ claim to enjoin such conduct is timely.

       The six-month statute of limitations under the RLA is borrowed from Section 10(b) of the

National Labor Relations Act (“NLRA”), 29 U.S.C. § 160(b). See West v. Conrail, 481 U.S. 35,

37–38 (1987); Emory v. United Air Lines, Inc., 720 F.3d 915, 931 (D.C. Cir. 2013). Under

Section 10(b), when a violation begins outside of the limitations period but continues into the

limitations period, the claim is not time barred. See, e.g., Atlas Air, Inc. v. Air Line Pilots Ass’n,

Int’l, 232 F.3d 218, 227 (D.C. Cir. 2000); Melville Confections, Inc. v. N.L.R.B., 327 F.2d 689,



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692 (7th Cir. 1964) (“Nor does the fact that the [petitioner’s] violation antedated the Section

10(b) period applicable to the instant charge preclude a finding of a violation which occurred

through a continuation of the proscribed conduct during and within the six-month period prior to

the filing of the charge.”). Because the RLA limitations period derives from that under the

NLRA, courts have applied the same principles under the RLA. Atlas Air, 232 F.3d at 226–27

(continuing violations doctrine applies to RLA claims just as it does to claims under Section

10(b) of the NLRA); Ass’n of Flight Attendants v. Horizon Air Indus., Inc., 976 F.2d 541, 547–

48 (9th Cir. 1992) (RLA claim not barred where conduct at issue “was a continuation of earlier

conduct” that continued into the statute of limitations period). As the Ninth Circuit noted in

Horizon Air: “[E]vents occurring outside the limitations period may be proven ‘to shed light on

the true character of matters occurring within the limitations period,’ if evidence exists that is

‘reasonably substantial in its own right’ that the violation of the RLA upon which the plaintiff

relies occurred within the period.” Id. at 547 (citations omitted).

       In UAL v. ALPA II, a case directly on point, the court found that the union’s illegal

slowdown campaign constituted a continuing violation where “the full effect of actions that

began before the limitations period was not felt until ALPA initiated additional actions during

the limitations period.” 563 F.3d at 270. The court recognized that “[n]either action [of the

multi-faceted slowdown] would have produced the same magnitude of harm as those actions did

together.” Id. As such, the Seventh Circuit determined “[t]he earlier actions shed light on the

actions within the limitations period” and were, therefore, a continuing violation and not time-

barred by the six-month statute of limitations. Id.

       And Atlas’ efforts since the slowdown started to engage with the Union and return its

operations to normal, rather than immediately to initiate litigation, are consistent with the RLA,




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which requires carriers and unions to attempt to resolve their disputes through negotiation prior

to initiating litigation. Indeed, Section 2, First of the RLA imposes a duty upon “all carriers,

their officers, agents, and employees to exert every reasonable effort to make and maintain

agreements . . . .” 45 U.S.C. § 152, First. This duty is not “a mere statement of policy or

exhortation to the parties”; it is an affirmative legal obligation, “enforceable by whatever

appropriate means might be developed on a case-by-case basis,” including injunction. Chi. &

N.W. Ry., 402 U.S. at 577. As stated above, the Supreme Court has described this duty as the

“heart” of the RLA. Jacksonville Terminal Co., 394 U.S. at 377-78. As courts have consistently

held, “the ‘over-all policy’ of the RLA . . . is to encourage use of the nonjudicial processes of

negotiation, mediation and arbitration for the adjustment of labor disputes.” Aircraft Serv. Int’l,

Inc. v. Int’l Bhd. Of Teamsters, Local 117, 779 F.3d 1069, 1079 (9th Cir. 2015) (quotations

omitted).

       D.      The NLGA Does Not Prohibit Injunctive Relief In This Case.

       In response to efforts to enjoin slowdowns under the RLA, unions frequently seek to

divert attention from the requirements of the RLA to the requirements of the Norris LaGuardia

Act (the “NLGA”). The NLGA, however, in no way bars an injunction.

               1.      The Federal Courts Have Jurisdiction To Enjoin A Violation Of The RLA,
                       Notwithstanding The NLGA.

       It is well-established that in labor disputes governed by the RLA, the more specific

provisions of the RLA take precedence over the general provisions of the NLGA. See, e.g., Chi.

& N.W. Ry., 402 U.S. at 581-82 n.18. “It is clear that the substantive legal duty of 45 U.S.C.

§ 152, First, is a ‘specific provision’ of the RLA and, moreover, is central to the purpose and

functioning of the RLA. Therefore, the provision takes precedence over the more general

provisions of the NLGA.” Delta Air Lines, 238 F.3d at 1307; UAL v. IAM, 243 F.3d at 362; Bhd.



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of R.R. Trainmen v. Chi. River & Ind. R.R. Co., 353 U.S. 30, 41-42 (1957); Bhd. of R.R.

Trainmen v. Howard, 343 U.S. 768, 774 (1952); see also Atl. Coast Line R.R. Co v. Bhd. of R.R.

Trainmen, 262 F. Supp. 177, 189 (D.D.C. 1967) (finding “[i]nsofar as the Norris-LaGuardia Act

is concerned . . . it has been held on numerous occasions that where the Railway Labor Act

conflicts with the Norris-LaGuardia Act, the former prevails”). The Supreme Court has

expressly held that the federal courts have subject matter jurisdiction to enjoin a violation of the

status quo obligations under the RLA, notwithstanding the NLGA. See Chi. & N.W. Ry., 402

U.S. at 582. Thus, the anti-injunction provisions of the NLGA do not apply.

               2.      While The Requirement Of “Clear Proof” Under Section 6 Of The NLGA
                       Is Inapplicable In This Case, That Requirement Has Nevertheless Been
                       Satisfied.

       Unions also frequently specifically argue that Section 6 of the NLGA requires that there

be “clear proof” that there has been authorization or ratification of unlawful conduct to hold a

union or its officers “responsible or liable” for the acts of union members. The purpose of

Section 6, as the Supreme Court noted in United Brotherhood of Carpenters & Joiners v. United

States, is to relieve unions “from liability for damages or imputation of guilt” for the

unauthorized acts of individual officers or members. 330 U.S. 395, 403 (1947). Thus, “it is

readily apparent that [Section 6] applies only (by its own terms) to liability for damages or

criminal responsibility,” and not to requests for injunctive relief. Charles D. Bonanno Linen

Serv., Inc. v. McCarthy, 532 F.2d 189, 191 (1st Cir. 1976); see also Mayo v. Dean, 82 F.2d 554,

556 (5th Cir. 1936) (Section 6 “might prevent punishment for contempt or the recovery of

damages, but clearly was not intended to apply to the issuance of an injunction to prevent future

acts of coercion in a case where such relief would be proper”); Suffolk Constr. Co. v. Local 67,

United Bhd. of Carpenters & Joiners, 736 F. Supp. 1179, 1182 (D. Mass. 1990) (“the prohibition

of § 6 of the Norris-LaGuardia Act, 29 U.S.C. § 106, does not apply to injunctions but only to


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claims for damages”). If the rule were otherwise, a court could never enjoin a wildcat strike, but

courts clearly have the authority to do so. See, e.g., Nat’l Airlines, Inc. v. Int’l Ass’n of

Machinists & Aerospace Workers, 416 F.2d 998 (5th Cir. 1969).

        Even if Section 6 required “clear proof,” however, that standard is satisfied here.

Defendants have issued numerous publications confirming they have encouraged this slowdown,

including in recent communications urging that pilots “SHOP,” “BOOT,” and “honor the CBA,”

all code words similar to the type that have been repeatedly recognized by courts as code to

interfere with operations. It is also clear that these publications are having their intended effect

because Atlas pilots are abiding by those commands.

                3.      The Requirement Of “Clean Hands” Under Section 8 Of The NLGA Does
                        Not Preclude A Preliminary Injunction.

        A third section of the NLGA frequently cited by unions in an attempt to avoid injunctions

against illegal work actions is Section 8, which prohibits injunctive relief where the complainant

“failed to comply with any obligation imposed by law which is involved in the labor dispute” or

has failed to make “every reasonable effort to settle such dispute” through negotiation,

mediation, or arbitration. Any such argument by IBT is without merits for two reasons.

        First, the obligation under Section 8 to make “every reasonable effort to settle such

dispute” has no application where the “dispute” at issue is whether the union’s actions violate the

RLA. If a carrier was required under Section 8 to seek to settle a dispute over the union’s

violation of its status quo obligations, the union would be able to ask for concessions in

exchange for ending an illegal slowdown. See UAL v. IAM, 243 F.3d at 364, 366-67. This

would “render the union’s duty under 45 U.S.C. § 152, First, a nullity, and would run directly

contrary to the policy rationales of the RLA’s status quo provisions.” Id. at 365. Second, even if

such an obligation applied, Atlas has exerted every reasonable effort to resolve the parties’



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dispute consensually, including by negotiating a protocol agreement for negotiations, engaging

in good faith negotiations, and notifying Defendants repeatedly that its members were engaged in

an illegal slowdown, and only filed the current action as a last resort.

                                          CONCLUSION

         For the reasons set forth above, this Court should issue a preliminary injunction in the

form submitted barring Defendants from engaging in the current illegal work action.

Dated:    September 25, 2017                   Respectfully submitted,
          Washington, D.C.

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